k

Case 8:19-bi<-00537-RCT Doc 1 4 i:i|ed 01/22/19 Page 1 of 53

Fiii in this information to identify your caso‘.

 

 

 

united States Bani<ruptcy Court for the: i:" j LE ad v‘-. i' ‘:. -r.
. m - `\" m "
MIDDLE D|STR|'CT OF FLOR|DA
l 1_ »\ ;

Case number wilmian Chapter you are Hi'mg under: JA-"~` 2 ? ;,`-..,3

l cna rer 7 . z l

p Cl?r!`z ’-‘“` ~ 'l`- ~¢-'C ~1 .s'i; .,l"_e‘] ;Cy,
mcbapiei'ii j _{ f -"""‘,-j ;r:'-.‘:»`:,';_=;-_;Dn
n Chapter 12
\ l:l Chapter 13 l:l Check if this an

i amended filing

Officia| Form 101
Voiuntary Petition for individuals Fi|ing for Bankruptcy 1211

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, |f a form asks. “Do you own a car," the answer
wouid be yes lt either debtor owns a car. When lnformatlon is needed about the spouses separateiy, the form uses Dabtor 1 and Debtor 2 to distinguish

between them. in ]oint cases, one of the spouses must report information as Debror 1 and the other as Debtor 2. The same person must be Debtor 1 in
ali of the fonns.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct lnformation. if

more space ls needed, attach a separate sheet to this forrrl. On the top of any additional pages, write your name and case number (lf known). Answer
every question.

identify Yourseif

 

About Debtor 1: About Debtor 2 (Spouse Ot\ly in a Joint Case):

1. Your full name

Write the name that is on Juan
your govemment-issued First name
picture identification (for
examp|e. your drivar's
license or passport).

Carmen
Firsi name

Bautista N.
Midd|e name |V|idd|e name

Bring your picture .
identiiication to your Munlz Perez Ml-lr\lZ

meeting with the trustee' Last name and Sui‘iix (Sr., Jr.. ii. ili) Last name and Suiiix (Sr.. Jr., il, lii)

 

 

 

2. All other names you have
used in the last 8 years

lnciude your married or
maiden names.

 

 

3. Only the last 4 digits of
your Socia| Security
number or federal
individual Taxpayer
identification number
(|T|N)

xxx-xx-2565 xxx-xx-Z 507

 

t Ofiioiai Forrn 101 Voiuntary Petition for individuals Filing for Bankruptcy page 1

 

 

 

CaS€ 8219-bi<-00537-RCT

Juan Bautista Muniz Perez

Debtor 1
Deb10r2 Carmen N. Munlz

 

4. Any business names and
Employer identification
Numbers (ElN) you have
used in the last 8 years

include trade names and
doing business as names

About Debtor 1:

l l have not used any business name or E|Ns.

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Case number (ifi<nown)

About Debtor 2 (Spouse ¢nly in a Jo|nt Case):

. i have not used any business name or EiNs.

 

Business name(s)

Business name(s)

 

EINS

 

E|Ns

 

 

 

 

 

5. Where you live

113 Les|ie Avenue
Winter Haven, FL 33880

if Debtor 2 lives at a different address:

 

Number, Street, City. Stata & ZiP Code

Polk

Number, Streei, City. State & ZiP Code

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address

County

if Debtor 2's mailing address is different from yours, fiil it
in here. Note that the court will send any notices to this
mailing address

 

Number, P.O. Bo)tr Street. Cityl State & ZiP Code

 

Nurhber, P.O. Box. Streei. City, State & ZiP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

- Over the last 180 days before filing this petition.
i have lived in this district longer than in any
other districtl

l:i l have another reason.
Expiain. (See 28 U.S.C. § 1408.)

Check one:

l over the last 130 days before ming this periiion, l
have lived in this district ionger than in any other
district

i:i l have another reason
E><piain. (See 28 U.S.C. § 1408.)

 

 

 

Ofncial Fonn 101

Voluntary Petltlon for individuals Fiiing for Bankruptcy

page 2

CaS€ 8219-bi<-00537-RCT DOC 1 Filed 01/22/19 Page 3 Oi 53

Debtor 1 Juan Bautista liiluniz Perez
Debtor 2 Carmen N_ Muniz Case number (iriinam)

_.‘i
aj
5

 

 

Teil the Court About Your Bankruptcy Case

 

`i. The chapter of the Checi< one. (For a brief description of each, see Notice Requi'red by 11 U`S.C. § 342(b} for individuals Fi'ir'ng for Bankruprcy
Bankruptcy Code you are (Fom'i 201 O)). Also, go to the top of page 1 and check the appropriate bo><.
choosing to tila under
- Chapter?

i:i Chapter 11
i:i Chapter 12
[i Chapter 13

 

 

 

-f B. How you will pay the fee l:l l will pay the entire fee when l file my petition. Please check with the clerk's oi“iice in your local court for more details
y about how you may pay. Typically, if you are paying the fee yourself. you may pay with cash, cashier’s check, or money
': order. if your attorney is submitting your payment on your behaif, your attomey may pay with a credit card or check with
a pre-printed address.

l need to pay the fee ln installments if you choose this option, sign and attach the Appii'cai.‘ion for individuals to Pay
The Fi'ii'ng Fee in installments (Oft'iciai Form 103A).

§ l l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By iaw. a judge may,
but is not required to, waive your fee, and may do so only ii your income is less than 150% of the official poverty line that
3 applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must ill out
the Appii'cation to Have the Chapter 7 Fi°ii°ng Fee Wai°ved (Ofi'iciai Form 103B) and tile it with your petition

 

 

 

 

 

 

 

 

 

9. Have you filed for l No
bankruptcy within the `
last 8 years? i:l Yes.
Districl When Case number
District When Case number
Distriot When Case number
§ 10. Are any bankmptcy l No
§_ cases pending or being
filed by a spouse who is I:l Yes.
not filing this case with
,( you, or by a business
j partner, or by an
§ affiliate?
ii Debtor Reiaiionsiiip to you
District When Case number. if known
Debtor Re|ationship to you
District When Case number. ii known
11. Do you rent your l No Go to line 12.
residenca? `
ij yes. i-ias your landlord obtained an eviction judgment against you?

|:| No. Go to line 12.

|:] Yes. Fili out initial Si‘aiement About an Evi'ci.‘i'on Judgmeni Agai'nst You (Fom'i 101A} and tile it as part of
this bankruptcy petition.

 

0tficiai Fon'n 101 Voiuntary Petltlon for individuals Flling for Bankruptcy page 3

 

 

 

.,-.` ._~..-.>.r,. l

 

 

 

 

 

Debtor 1

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Debtor 2 Carmen N. Muniz

Juan Bautista Muniz Perez

Case number (irknown;

 

-Report About Any Businesses \'ou Own as a Soie Proprietor

 

 

 

 

12. Are you a sole proprietor
of any fuii- or part-time l No, Go to Part 4.
business?
[3 Yes_ Name and location of business

A sole proprietorship is a

business you operate as Name of business. if any

an individua|. and is noia

separate legal entity such

as a corporation,

partnership, or LLC.

|f you have more than one Number, Street, City. State & ZiP Code

sole proprietorshipl use a

separate sheet and attach

it to this petition. Check the appropriate box to describe your business:
|:| Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
[| Sing|e Asset Reai Estate (as defined in 11 U.S.C. § 101(515))
|:| Stockbroker (as defined in 11 U.S.C. § 101(53A))
n Commodity Broi<er (as detined in 11 U.S.C. § 101(6))
[] None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate

Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a dennition of small
business debtor. see 11
U.S.C. § 101(51D).

deadlines |f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statementl and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B)_

- NO_ l am not ming under Chapter11.

|:| No_ l am liling under Chapter 11, but l am NOT a small business debtor according to the dennition in the Bankruptcy
Code.

m Yes_ l am filing under Chapter 11 and l arn a small business debtor according to the deinition in the Bankruptcy Code.

 

-Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For exemple, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

. No.

U Yes.
What is the hazard?

 

if immediate attention is
needed, why is it needed?

 

Where is the property?

 

Numt>erl Street, City. State & Zip Code

 

Ofiiciai Form 101

Voiuntary Petit|on for individuals Flling for Bankruptcy page 4

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§.
5.
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Case 8:19-bk-OO537-RCT DOC 1 Filed 01/22/19 Page 5 of 53

Debtor 1
Debtor 2 Carmen N. Muniz

Juan Bautista |illuniz Perez

 

mxp|ain Your Efforts to Recelve a Brleflng About Credlt Counse|lng

Case number (iri¢nown)

 

 

15. Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankniptcy.
You must truthfully check
one of the following
choioes. if you cannot do
so, you are not eligible to
fi|e.

|f you tile anyway, the court
can dismiss your case, you
will lose whatever ming fee
you paid, and your
creditors can begin
collection activities again.

Ofticia| Fonri 101

About Debtor 1:
You must check one:

i received a briefing from an approved credit -
counseling agency within the 180 days before l

filed this bankruptcy petition, and i received a

certificate of completion

Attach a copy ol the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit l:|
counseling agency within the 180 days before l

filed this bankruptcy petition, but i do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition. you MUST file a copy of the certificate and
payment plan, ii any.

l certify that | asked for credit counseling l:l
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefingl why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to Hle this case.

Your case may be dismissed if the counts
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you tile.
You must tile a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

iam not required to receive a briefing about |J
credit counseling because of:

I:| lncapaclty.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

i:l Disablilty.
My physical disability causes me to be
unable to participate in a briefing in person\
by phone. or through the intemetl even afterl
reasonably tried to do So.

l:l Active duty.
l am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver credit counseling with the court

Voluntary Petition for individuals Flling for Bankruptcy

About Debtor 2 (Spouse Only in a Jo|nt Case):
You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any. that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but i do not have a certificate
of completion.

Within 14 days after you Ele this bankruptcy petition. you
|V|UST file a copy of the certificate and payment plan, if
any.

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirementl

To ask for a 30-day temporary waiver of the requirement
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to nle this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
tile a certificate from the approved agency, along with a
copy of the payment plan you developed. if any. if you do
not do so. your case may be dismissed

Any extension of the 230-day deadline is granted only for
cause and is limited to a maximum of 15 days.

i am not required to receive a briefing about credit
counseling because of.'

[:l |ncapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances

[] Disabi|lty.
|Vly physical disability causes me to be unable to
participate in a briefing in person. by phone, or
through the intemet, even after l reasonably tried to
do so.

|:l Active duty.
l am currently on active military duty in a military
combat zone.

il you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the oourt,

page 5

 

 

.:::$j::xz;;g:v iu.

 

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Debtor1 Juan Bautista Muniz Perez

Debtor 2 Carmen N. Muniz

Case number iiixnownl

 

Part 61 Answer These Questions for Reporting Purposes

 

 

 

 

 

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Corisumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
you have? individual primarily for a personal, taml|y, or household purpose."
El No. co io line leo
- Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment
i:l No. Go to line 160.
|:l ves. co io line 17.
16a. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under |:l No_ l am not filing under Chapter ?. Go to line 18.
Chapter 7?
Do you estimate that l Yes l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ` are paid that funds will be available to distribute to unsecured creditors?
property is exciudeci and
administrative expenses . No
are paid that funds will
be available for l:l Yes
distribution to unsecured
creditors?
18- How many Cre¢llt¢>rs d° l 149 El 1.000-5,000 lIl 25,001-50,000
§c::'.le;stimate that you m 50_99 ij 5091_1@_@00 ij 50,001-1.00.000
r_'] 100_199 Ei 10,001-25,000 El More inanioo.ooo
Ei 200-999
19- H¢>w much do you Ci $0 - 550,000 ij 51,000.001 - $10 million El $500.000,001 - s1 billion

estimate your assets to

be worm ij 350,001 - $100,000

l $100.001 » ssoo,ooo
Cl $soo.ool - si million

lIJ $10.000.001 - $50 million
iii $50,000,001 ~ $100 million
IJ 5100,000,001 - $500 million

El $1 .000,0001001 - $10 billion
iii $10,000,000.001 - 550 billion
l:l More than $50 biilion

 

20. How much do you
estimate your liabilities
to be?

El so - $50.000

|Ii $50,001 - $100,000
l $100.001 - $500.000
lIl $500.001 - $1 million

El $1,000.001 - $10 million

Cl $10,000.001 - $50 million
El $50.000,001 - $100 million
Ei 3100,000,001 - $500 million

 

Part ?: Sign Beiow

El $500.000,001 - $1 billion

ij $1.000,000,001 - $10 billion
l:l $10.000,000,001 - 550 billion
l:l More than $50 billion

 

For you

l have examined this petition. and l declare under penalty of perjury that the information provided is true and correct

|f | have chosen to file under Chapter 7, l am aware that l may proceed. if eligib|e, under Chapter 7, 11,12, or 13 of title 11,
United States Code. l understand the relief available under each chapter, and | choose to proceed under Chapter 7.

ii no attomey represents me and l did not pay or agree to pay someone who is not an attorney to help rne fill out this

document l have obtained and read the notice required by 1 1 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11. United States Code. specified in this petition.

l understand making a false statement1 concealing property, or obtaining money or property by fraud in connection with a
ankmptcy case can result in fines up t

$250.000, or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519,

;Carmen N. Muniz z g

 

®xecuted on
MM i D i‘r'YYY

Signature of Debtor 2

@xecuted on 95 f 2 - @fi
MIDDIWW

/»¢/

 

Officia| Fonn 101

Voluntary Petition for individuals Fil|ng for Bankruptcy page 6

_*_

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Debtort Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number ¢ir mm

 

 

For you lfyou are filing this The law allows you, as an individua|, to represent yourself in bankruptcy court. but you should understand that many
bankruptcy without an people find lt extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney financial and legal consequences, you are strongly urged to hire a qualified attorney.

lf you are represented by an To be successfui. you must correctly tile and handle your bankruptcy case. The rules are very technical, and a mistake or

attorney, you do not need to inaction may affect your rights. For exampie, your case may be dismissed because you did not file a required documentl

file this page. pay a fee on time, attend a meeting or hearingl or cooperate with the court. case trustee, U.S. trustee. bankruptcy
administrator. or audit finn if your case is selected for auditl if that happens. you could lose your right to tile another case1
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to tile with the court. Even if you plan to pay
a particular debt outside of your bankruptcy. you must list that debt in your schedules if you do not list a debt. the debt may
not be discharged ii you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts ii you do something dishonest in your bankruptcy case, such as
destroying or hiding property. falsifying records, or lying. individual bankruptcy cases are randomly audited to determine if
debtors have been accurate. truthfu|, and complete. Bankruptcy fraud ls a serious crime; you could be fined and
imprisoned.

if you decide to tile without an attorney. the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourseii. To be euccessfu|. you must be familiar with the United
States Bankn.iptcy Code. the Federa| Ru|es of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

[:] No
- Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete you
could be Hned or imprisoned?

ij No

. Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forrns?

L'j No

l yes JAS Operations, |nc. dibia F|orida Para|egal Assistancer Ron

Name of Person Sjoblom, President
Attach Bankruptcy Petitr'on Preparer's Notice, Deciaraii'on, and Signature (Oflicial Forrn 119).

By signing here, | acknowledge thatl understand the risks involved in F ling without an attorney. l have read and understood
this notice. and l am aware thati filing a bankruptcy case without an attorney may cause me to lose my rights or property if l do

6 QM /4/. §§ ge
Carmen N. Muniz

Signature of Debtor 2

@Date v ’), oil pate 951 gm goff
M/oo/YYYY o lYYYY

 

 

 

Contact phone (363)651-8590 Contact phone
Ce|l phone _ Ce|l phone
Emaii address Emaii address

 

 

Ofi`lcial Forrn 101 Voluntary Petltion for individuals Filing for Bankruptcy page 8

Case 8:19-bl<-00537-RCT Doc 1 Filed 01/22/19 Page 8 of 53

Fil| in this information to identify your casc:

Debtor1 Juan Bautista Muniz Perez
l First Name Middie Name Last Name

Debtorz Carmen N. Muniz
(Spouse ii. filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORiDA

 

 

Case number
(if knowni |j Check il` this is an
amended filing

 

 

 

Officia| Form 1068um

Summary of Your Assets and Liabiiities and Certain Statistical information 12115

Be as complete and accurate as possible. if two married people are filing together. both are equally responsible for supplying correct
lnformation. Fi|l out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms. you must fill out a new Summary and check the box at the top of this page.

mmarlze Your Assets

 

 

Your assets
Vaiue of what you own

 

'l. Schedu|e AiB: Property (Ofticial Form 106AIB)

§ 1a. Copy line 55, Total real estate. from Schedule A/B $ 1411029'00
i 1b_ Copy line 62. Toial personal property, from Schedule NB $ 7 303_00

1c. Copy line 63, Total of all property on Schedu|e A/B $

148,332.00

memoraan Your Ltabiuues

 

Your liabilities
Amount you owe

2. Scheduie D: Creditors Who Have Claims Secureci by Property (Ol'iicia| Form 106D)

 

2a. Copy the total you listed in Column A. Amount of ciaim, at the bottom of the last page of Part 1 of Scheduie D... 3 94'303'°°
3. Scheu'ule E/F.' Credi'tors Who Have Unsecured Claims (Oflicia| Form 106ElF)
3a copy thermal claims rer Pan 1 (prioriry unsecured ciaims) from line se or schedule E/F $ °-0°
ii 3b. Copy the total claims from Part 2 {nonpriority unsecured claims) from line 6i of Schedule E/F 3 23 028_12

w Your total liabilities $ 117`831.12

m Summarize ¥our income and Expenses

4. Schedule i: Your income (Of|icia| Form 106|)
Copy your combined monthly income from line 12 of Schedule l $ 2334-00

5. $chedule J.' Your Expenses (Oflicial Form 106J)
Copy your monthly expenses from line 22c of Scheduie J $ 1'927'54

_Answer These Questions for Administrative and Statisticai Records

 

6. Are you filing for bankruptcy under Chapters T, 11, or 137
E] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

- Yes
7. What kind of debt do you have?

' Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal. family. or
household purpose.” 11 U.S.C. § 101(8). Flll outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

|:I ¥our debts are not primarily consumer debts. ¥ou have nothing to report on this pari of the form Chock this box and submit this form to
the court with your other schedules

Oficial Form 1068um Summary of Your Assets and Liabllltles and Certain Statlstical information page 1 of 2

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Debtori Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number (ifknown)

 

 
 
    
 

8. From the Statement of Your Curreni' Mon!hly incomes Copy your total current monthly income from Official Form

izzA-i une 11; on, Form me une 11-. on, ram 122c-1 one 14. 3 2'°34-°°

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Totai claim
Frolh Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line Sa.) $ 0.00
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicatedl (Copy line Bc_) $ 0_00
9d. Student loans. (Copy line 6f.) $ 0.00
Qe. Ob|igaiions arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line Sg_) 3 o'°o
9f. Deth lo pension or profit-sharing plans. and other similar debts. (Copy line Bh.) +$ {)_00
Bg. Totai. Add lines 93 through 9f. $ 0.00
Ofticial Form 1063um Summary of Your Assets and Liabi|ities and Certain Statistica| information page 2 of 2

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Case 8:19-bl<-OO537-RCT Doc 1 Filed 01/22/19 Page 10 of 53

Fill in this information to identify your case and this ftling:
Debtor1 Juan Bautista Muniz Perez
Flrst Name Middle Name Last Name

DebeFZ Carmen N. Muniz
(Spouse. ifiiling) Flrst Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE D|STR|CT OF FLOR|DA

 

Case number fl Check if this is an
amended filing

 

Officlal Form 106A/B
Schedu|e AIB: Property reno

in each category, separately list and describe items. Llst an asset only once. lf an asset fits in more than one category, list the asset in the category where you
think lt fits best. Be as complete and accurate as possibie. if two married people are filing together. both are equally responsible for supplying correct
information. if more space is needed. attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Doscribe Each Resldence, Buiidlng, Land, or Other Real Estate You Clwn or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residenco, building, land, or similar property?

i:l No. Go to Part2.

l Ves. Where is the propertYl

 

 

 

 

 

1.1 What is the property? Check ali that apply
113 LeSlle Avenue - Singie-family home Do not deduct secured claims or exemptions Put
Streei nddress, ifavaiiabie, mother description D f f ._ »t b -rd- the amount of any secured claims on Schoo'u.le D:
l:l "‘p ex °' m° 1' u"' "' '"g creditors who novo claims secured by Properry_
|:| Condominium or cooperative
U Manufactured or mobile home
Current value of the Current value of the
er\‘[ei' i'iavel'i FL 33880-0000 |:| Land entire property? portion you own?
City State ZiP Code l:l investment property $141 ,029.00 $141 ,029.00
Tlmesh
m are Describe the nature of your ownership interest
m O"`"-“'r (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a "f° estate)¢ if known-
l:l Debtor 1 only Fee simple
POik i:i Debtor 2 only
county lobti dobtzl
e or an e or on y n Check if this is community property
m Ai least one of the debtors and another (see instructional

Other information you wish to add about this iiem, such as local
property identification number:

(Debtor intends to retain collateral and continue to pay the regular
monthly payments.)

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for $141’029_00

pages you have attached for Part 1. Write that number here ............................................... . ........................... =>
Describe Your Vehicies

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. ii you lease a vehicle. also report it on Scheduie G: Executory Contracts and Unexpired Leases.

 

Offrciai Form 106AJ'B Schedule A/Ei: Property page 1
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Debtort Juan Bautista Muniz Perez
Debtor 2 carmen N_ Muniz Case number (irknawn)

3. Cars. vans, trucks, tractors, sport utility vehicles, motorcycles

[] No
. Yes
. Do not deduct secured claims or exemptions Put
3`1 Make' h__»_-_~HH-_-__-_~che_vrolet who has an lowest m the property-a shed one the amount of any secured claims on Schedui'e D:
Modei; Malib\.i ij Debtor ‘i only Creditors Who Have Ciat'ms Secured by Propeny.
Ye r:

a ~2_010_-_~ n Debtor 2 only Current value of the Current value of the
Approximaie mileage: - Debtor 1 and Debtor 2 only entire property? portion you own‘ll
Olher informatior\i cl At least one of the debtors and another
(Debtor intends to retain
collateral and continue to pay i:l check sums is community property $6»555-00 $6,655-00

 

(aee instructions}

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicies, other vehicles, and accessories
Exarnpies: Boats, trailers, motors, personal watercraft, fishing vessels. snowmobiles, motorcycle accessories

l No
l:i Yes

5 Add the dollar value of the portion you own for aii of your entries from Part 2, including any entries for
pages you have attached for part 2. Write that number here ............................................................................. => $6'655'00

 

Describe Your Personai and Househoid items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured

 

 

 

     
     

claims or exemptions
6. i'lousehold goods and furnishings
Exampies: Major appliances iumiture, linens, china, kitchenware
L_.l No
I Yes. prescribe .....
Couch, ioveseat, living room chair, two end tables, coffee tabie,
refrigerator, stove, kitchen table & chairs, microwave, two iamps,
three beds, dresser, two nightstands, washer, china cabinet, lawn
mower $368.00

 

 

7. E|ectron|cs
Exampies: Teievisions and radios; audio. videc. stereo, and digital equipment computers, printers, scanners; music coilections; electronic devices
including cell phones, cameras, media players, games
n No

. Yes. Describe .....

 

thiie\risionl VCR, DVD player! computer l $35.00

 

 

8. Coliectibies of value
Exarnples: Antiques and ngurines; paintings. prints, or other artwork', books, pictures, or other art obiects; stamp, coin, or baseball card coilections;
other collections memorabilia, coilectibles
. No

n Yes. Describe .....
9. Equipment for sports and hobbies

Exampias: Sports, photographicl t-:>¢ercisel and other hobby equipment bicycles, pool tables, golf ciubs. skis; canoes and kayaks; carpentry toois;
musical instruments
- No

i:l ¥es. Describe .....

Otficiai Form 106AIB Scheduie AIB: Property page 2
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1 ;..,.)_< .\-...;_-4.-~.._>...., _ . _- t

 

 

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Debtor1 Juan Bautista Muniz Perez
Debtor2 Carmen N_ Muniz Case number (ifknownj

10. Firearms
Examples: Pistols. rittes, shotguns. ammunition, and related equipment

l No
i:l ¥es. Describe .....

11. Clothas
Examples: Everyday clothes, furs, leather coats. designer wear, shoes, accessories

|:l No
- ¥es. Describe .....

 

l clothing $50.00

 

12. Jewelry
Exampies: Everyday jewelry, costume jewelry, engagement ringsl wedding rings, heirloom jewelry, watches. gems, go|d. silver

El No
l Yes. Describe .....

 

Rin $10.00

 

 

13. Non»farm animals
Examp!es: Dogs, cats, birds, horses

- No
[:l Yes. Describe .....

14. Any other personal and household items you did not already l|st. including any health aids you did not list
l No
|:l Ves. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, lnc|udlng any entries for pages you have attached
for Part 3. Write that number here.. ... ............ 3463'00

 

 

 

Part 41 Descrlbe Your Financlal Assets

Do you own or have any legal or equitable lnterest ln any of the following? Current value of the
portion you ewn?
Do not deduct secured
claims or exemptionsl

 

16. Ca$h
Examples: Money you have in your wallet, in your home, in a safe deposit box. and on hand when you file your petition

- No
n Yes
17. Depos|ts of money

Exemp!es: Cheoking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. ll you have multiple accounts with the same institution. list each.

 

 

 

 

l:l No
l Ves ........................ '"st"u“°" "ame=
17.1. Chocking MidF|orida Credit Union $75.00
1?.2. Savings MidF|orida Credit Union $‘!10.00
Ofticial Form 106A/B Schedule AIB: Property page 3

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Debtori Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number (irr<nowni

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond tunds. investment accounts with brokerage iinns, money market accounts

' No
ij res .................. institution or issuer name'.

19. lilco-publicly traded stock and interests in incorporated and unincorporated businesses, including an lnterest in an LLC, partnership, and
joint venture

lNo

l:] Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotr'abie instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotr'abie instruments are those you cannot transfer to someone by signing or delivering them.

lNo

El Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Exarnpies: interests in iRA, ERiSA. i<eogh. 401[it). 403(b). thrift savings accounts. or other pension or proi'it~shan'ng plans

-No

' EI Yes. i_ist each account separateiy.
Type of account institution name:

22. Security deposits and prepayments
rour share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreernenis with landlords prepaid rent. public utilities (eiectric, gas, water), telecommunications companies or others

l No
fl Yes_ _____________________ institution name or individuai'.

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No
[:1 Yes _____________ issuer name and description

24, interests in an education lRA, in an account in a qualified ABLE programr or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

- No
]:| Yes _____________ institution name and description Separateiy file the records ot any interests.t‘i U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers exercisable for your benefit
l No
Cl Yes. Give specific information about them...

26. Patents, copyrights. trademarks. trade secrets, and other intellectual property
Exampies: intemet domain names, websites, proceeds from royalties and licensing agreements

l No
l:l Yes. Give specific information about them...

27. Licenses, franchises, and other generai intangibles
Exempies: Buiiding permits, exclusive iicenses. cooperative association holdings. liquor iicenses, professional licenses

- No
m Yes. Give specihc information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptionsl

28. Tax refunds owed to you
. No
E] Yes. Give specific information about them, including whether you already fried the returns and the tax years.,.....

Ofi'iciai Form 106NB Schedule AIB: Property page 4
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Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N_ Muniz CaSe number {if known)

29. Famiiy support
Exarnpies: Past due or lump sum alimonyl spousal support. child support, maintenance, divorce settlement property settlement

l No
U Yes. Give specific information ......

30. Other amounts someone owes you
Exempi'es.' Unpeid wages, disability insurance payments disability benefits, sick pay\ vacation pay. workers' compensation Socia| Security
benents; unpaid loans you made to someone else

- No
U Yes. Give specinc information..

31. interests in lnsurance policies
Exarnpies: Hea|th. disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

-No

l:] ¥es. Name the insurance company of each policy and list its value.
Compeny name'. Benehciery'. Surrentier or refund
vaiue:

32. Any lnterest in property that ls due you from someone who has died
ii you are the beneficiary of a living trust, expect proceeds from a iife insurance policy, cr are currently entitled to receive property because
someone has died.

-No

l:l Ves. Give specific information..

33. Clalms against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exarnpies: Accidents, employment disputes. insurance claims. or rights to sue

- No
l'_`l Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No

l:l Yes. Describe each ciaim.........

35. Any financial assets you did not already list
l No
l:l Yes. Give specific information..

35. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Fart 4 Write that number here... ... ................................. 3135-00

medlin Any Business-Reiatod Property You own or Have an interest in. List any real estate in Part 1.

 

 

3?. Do you own or have any legal or equitable interest in any business-related property?
. No. Go lo Part 6.
i'_'l Yes. co in line 33.

Deecribe Any Farm~ and Gommerciai Fishing-Reiated Property \‘ou Own or Have an interest in.
lfyou own or have an interest in farmiand, list it in Pan 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. Go to Part 7.

El Yes. Go to line 41

Describe All Property ¥ou Own or Have an interest in That ¥ou Did Not List Above

 

Oflioial Form 106NB Scheduie AIB: Property page 5
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»r~l=-

 

 

 

 

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Debtor1 Juan Bautista Muniz Perez
DeblOFZ Carmen N. Muniz

53. Do you have other property of any kind you did not already llst?

54.

Examplss: Season tickets. country club membership

lNo

i:i Yes. Give specific information....,....

Add the dollar value of all of your entries from Part 7. Write that number here

Llsr rha rents or Each Part ofrhls Form

 

55. Part1: Total real estate, line 2
56. Part 2: Tota| vehicles, line 5 $6,655.00
57. Part 3: Total personal and household ltems, line 15 $463,00
55. Part 4: Tota| financial assets, line 36 $185.00
59. Part 5: Total business-related property. line 45 $0_00
60. Part B: Total farm~ and fishing-related property. line 52 $0,00
61. Part 7: Totai other property not listed, line 54 + $0.00
62. Total personal property. Add lines 55 through 61... $7 303,00
63. Total of ali property on Schedu|e A!B. Add line 55 + line 62
Ofiicial Form 106A/B Schedule AIB: Property

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Case number (r'fknown)

 

$o.oo

$141,029.00

Copy personal property total

$7,303.00

$148.332.00
_.__’__:_l

page 6
Besl Case Bankruptcy

 

Case 8:19-bk-00537-RCT Doc 1 Filed 01/22/19 Page 16 of 53
Fiil in this information to identify your case:

Debf0r1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor 2 Carmen N. Muniz
(Spouse lf, tillng) First Name Middle Name Last Name

 

United States Bankruptcy Couri for the: MiDDLE DlSTRlCT OF FLOR|DA

Case number
rirknmi |j Check if this is an
amended iilirtg

 

 

Oificial Form 1060
Schedule C: The property ¥ou Claim as Exempt 4116

 

Be as complete and accurate as possible lt two married peopie are filing together, both are equally responsible for suppiying correct intoi"n'\atioril Using
the property you listed on Scheo'uie A/B: Property (Oi'iiciai Form 106AIB) as your sourcel list the property that you claim as exempt. lf more space is
needed. iiil out and attach to this page as many copies of Part 2: Additr'onai Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt. you must specify the amount of the exemption you claim. One way of doing so ls to state a
specific dollar amount as exempt. Alternatlvely, you may claim the tull fair market value of the property being exempted up to the amount ot
any applicable statutory llmit. Sorne exemptions-such as those for health a|ds, rights to receive certain benefits, and tax-exempt retirement
funds-rnay be unlimited in dollar amount. However, if you claim an exemption of 100% affair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount. your exemption would be limited
to the applicable statutory amount.

mdentify the Prg)erty_You Claim as Exempt

1. Whlch set of exemptions are you claiming? Check one oniy, oven if your spouse is filing with you.

 

. You are claiming state and federal nonbankruptcy exemptions 11 U.S,C. § 522(b)(3)
L_.l You are claiming federal exemptions 11 U.S,C. § 522(b)(2)

2. For any property you listen Scheduie A/B that you claim as exempt, fill in the information below.

Brlef description ot the property and line on Current value of the Amount of the exemption you claim Specino§iaws that allow exemption
scheduie A/B that lists this property portion you own 1
` Copy the value from Check only one box for each exemption

Scheduie A/B .
113 Les|ie Avenue Winter Haven, FL $141 029_00 l $141 029_0° Fla. Const. art. X, § 4(a)(1);
33880 Polk County -_-_-'W --_-_-_-_-'H€ Fla. Stat. Ann. §§ 222.01 &
iDebtor intends to retain collateral 5 100% ot fair market vaiue, up to 222 .02
and continue to pay the regular any applicable statutory limit

monthly payments.)
Line from Scheduie A/B: 1.1

 

2010 chevrolet Maiibu $6'655_00 l $6,655'00 Fla. S\at. Anl'\. § 222.25(1)
(Debtor intends to retain collateral ----_-- mm

and continue to pay the regular m 100% of fair market value, up to

monthly payments.) any applicable statutory timit

Line from Scheduie A/B: 3.1

 

Couch, loveseat, living room chair, 3358_00 - $363_00 Fla. Const. art. X, § 4(a)(2)
two end tables, coffee table, P_-_-_-~ mm

refrigerator, stove, kitchen tabie & 13 100% affair market value. up to

chairs, microwave, two iamps, three any applicable statutory limit

beds, dresser, two nightstands,
washer, china cabinet, lawn mower
Line from Scheduie A/B: 6.1

 

Teievision, VCR, DVD player, $35_00 l $35_00 Fla. Cor\st. art. X, § 4(a)(2)
computer _m__ h_____+#
Line from Scheduie A/B: 7.1 n 100% of iair market value. up to

any appiicab|e statutory limit

 

Ofiicial Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 2
Soitware Copyrighi (r:] 1996-2018 Besl Case. LLC - www.bestcase.oom Besi Case Bankruptcy

 

 

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Debtor 1 Juan Bautista Muniz Perez

 

 

Debtor 2 Carmen N. Muniz Case number tit known)
Brief elcrlption of the property and line on Current value of the Amount of the exemption you claim Specii'tc laws that allow exemption
Scl‘r is A/B that iistl this property portion you own :j
l Copy the value from Check only one box for each exemption
- Schedul'e A/Ei 1
Clothing $50_00 . 550_00 Fla. Const. art. X, § 4(a)(2)

Line from Scheduie A/B: 11.1

n 100% of iair market value, up to
any applicable Statutory limit

 

R_ing s1o_oo - 510-00 Fla. cOnSf. 8|1. X, § 4{3)(2)
Lrne from Scheduie A/B: 12.1 ~___-_ F___~__

n 100% of fair market value. up to
any applicable statutory limit

 

Checking: MidF|orida Credit Union $75_00 - $75_00 Fla. Const. art. X, § 4(a)(2)
Line from Scheduie A/B: 17.1 m --_-~_…

n 100% of fair market value, up to
any applicable statutory limit

 

Savings: MidFlorida Credit Union 5110_00 - $110_00 Fla. Const. art. X, § 4(a)(2}
Line from Scheduie A/B: 17.2 m gm

m 100% of fair market value, up to
any applicable statutory limit

 

 

 

3. Are you claiming a homestead exemption of more than $160.375?
(Sub]ect to adjustment on 4101}19 and every 3 years ai`ier that for cases tried on or after the date of adjustment.)

l No
l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you fried this case?

|:l No
l:i Yes
Oiiicia| Form 106C Schedu|e C: The Property You Claim as Exempt page 2 of 2

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Case 8:19-bk-00537-RCT DOC 1 Filed 01/22/19 Page 18 of 53
Fill in this information to identity your case:

Debtor 1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor 2 Carmen N. Muniz
lSpouse it` lilngl First Name Middle Name Last Name

United States Bankruptcy Court for the: MlDDLE DlSTRlCT OF FLOR|DA

Case number
iii kwvm) n Check it this is an
amended filing

 

 

 

 

Officia| Form 1060
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible l‘or supplying correct infon'naticn. lt more space
ls needed, copy the Additional Page. fill it out, number the entries, and attach lt to this forrn. On the top of any additional pagee, write your name and case

number (if known).
1. Do any creditors have claims secured by your property?
i'_") No. Check this box and submit this term to the court with your other schedules You have nothing else to report on this form.

- Yes. Fill in all of the information below.

mll_ht A|l Secured Cia|ms

 

 

 

 

     
   
       

 

2. List ali secured claims. it a creditor has more than one secured ciaim. list the creditor separately Column A Column 8 Column C
for each cla|m. if more than one creditor has a particular ciaim, list the other creditors in Part 2. As Amount of claim Vaiue of collateral Unsecured
much as poesible, list the claims in alphabetical order according to the creditors name. Do not deduct the that supports this portion
value ol collaterai. claim ii any
2,1 Mr_ Cooper Describe the property that secures the claim: $87,000.00 $141,029.00 $U.DO
C'°d“°“s Na“‘e 113 Les|ie Avenue Winter Haven, FL
33880 Po|k County
(Debtor intends to retain collateral
and continue to pay the regular
monthl a ments.
As of he da ou file, th laimi :
P_ o- Box 650783 app|y- t te y e o s check aliihat
Dallas, TX 75265 [] Comingem
Numbsr. Street, ciiy. stats a Zip Code g Unliquidated
U Disputed
Who owes the debt? Check one. Nature of l|en. Cneck all that apply.
n Dabi°r1 °"'l' - An agreement you made (such as mortgage or secured
i:.i Debtor 2 only car |oan)
- Debtor 1 and Debtorz only m Statutory lien (such as tax |ien, mechanic's lien)
l:i At least one of the debtors and another ij Judgrnent lien from a lawsuit
n Check if this claim relates to a ij Other (including a right to offset)
community debt
Uncertain
Date debt was incurred Date Last 4 digits of account number 3898

 

- Statg Farm Bank Describe the property that secures the ciaim: $7,803.00 $6-,655.00 $1!143.00
C'°d"‘°”$ N“m° 2010 Chevrolet Ma|ibu

(Debtor intends to retain co|iateral

and continue to pay the regular

monthl a ments.

    
   
       

As of the date ou file, the claim i : l
P. O' Box 3299 apply- y 8 Check al that
Mirwaukee, wl 53201 g Comingem
Numbsr, street ci¢y, state a zip code l:l Unr¢quidaied
i:] Disputed
Who owes the debt? Check one. Nature of l|en. Check lali that appiy.
n Dem°ri °\"*|ll - An agreement you made (such as mortgage or secured
Ci Debtor 2 only car loan)
l Debtor 1 and Debtor 2 amy U Statutory lien (such as tax iien. mechanics lien)

U At least one ot the debtors and another g Judgment lien from a lawsuit

Oti.ciai Form 1060 Scheduie D: Creditors Who Have Claims Secured by Property page 1 of 2

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t.a =»'~< ,¢,<ts;=¥..,i.-‘.

 

=u=-e<ri

 

:::sw:a::=: sas= c

 

 

Case 8:19-bl<-OO537-RCT DOC 1 Filed 01/22/19 Page 19 of 53

Debtor 1 Juan Bautista Muniz Perez

 

 

First Name Middle Name Last Name
Debtor 2 Carmen N. Muniz

First Name Middle Name Last Name
n Check if this claim relates to a i:i Other (inciuding a right to offset)

Case number (ii known)

 

 

community debt

Uncertain

Date debt was incurred Date Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write that number here:

li‘ this ls the last page of your fonn. add the dollar value totals from ali pages.
Write that number here:

usc others w se Netlned for a bent That You Aiready Lisred

 

$94,803.00

 

 

$94,803.00

 

 

Use this page only if you have others to be notllled about your bankruptcy for a debt that you already listed in Fart 1. For example, ll a collection agency is
trying to collect from you for a debt you owe to someone else. list the creditor in Part 1, and then list the collection agency here. Slm|larly, lf you have more
then one creditor for any of the debts that you listed in Part 1, list the additional creditors here. |f you do not have additional persons to be notified for any

debts in Far'l 1, do not fill out or submit this page.

Ol“licia| Form 106D Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 2 of 2

Besi Case Bankruptcy

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t
q

 

 

 

 

 

 

., sa;....i.),v_.

 

 

 

 

 

 

Case 8:19-bl<-00537-RCT DOC 1 Filed 01/22/19 Page 20 of 53

Fill in this information to identify your case:
Debtori Juan Bautista Muniz Perez
Ftrsi Name Middle Name l_ast Name

Debtor2 Carmen N. Muniz
{Spouse ii. lilirrg] First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the; MlDDLE D|STR|CT OF FLOR|DA

 

Case number
iii known) [:] Check ii this is an
amended filing

 

 

Otfrcial Form ‘lOGE/F
Schedu|e EIF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possib|e. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TV claims. List the other party to
any executory contracts or unexpired leases that could result |n a cla|m. Also list executory contracts on Schedule NB: Property (Offlcla| Form 106NB) and on
Schedu|e G: Executory Contracts and Unexp|red Leases (Dflicia| Form 1056}. Do not lnclude any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill lt out, number the entries ln the boxes on the
lerl. Attach the Continuation Page to this page. lf you have no lnfon'nation to report in a Part. do not file that Part. On the top of a`ny additional pages. write your
name and case number (if known).

Part 1: Llst Ali of Your PR|OR|TY Unsecured Clalms
1. Do any creditors have priority unsecured claims against you?
- No. Go to Part 2.

n Yes.
ust Arr or'rour NoNPRroRlTY Unsecured claims

3. \'.io any creditors have ncnpriority unsecured claims against you'i
m No. You have nothing lo report in this part. Submit this form to the court with your other schedules

- ¥es,

4. Llst alt of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each c|a|m. lf a creditor has more than one nonprion'ty
unsecured claim. list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. lf more
than one creditor holds a particular ciaim. list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continualion Page of

 

 

 

 

 

Part 2.
`i’otal claim
(4.". \ American Exp\'ess Last 4 digits ot account number $2 423_41
Nonprioriiy Creditofs Name
P. O. BDX 297879 When was the debt lncurred? Ul‘lCef‘iain Da‘\€
Fort Lauderda|e, FL 33329-7879
Number Straet Cily State Zip Code As of the date you file, the claim is: Chack ali that apply
Who incurred the debt'? Check one.
i:i Debtor1 only |:] Contingen‘
m Debtor 2 only l:i Unliquidated
l Debtor 1 and Debtor 2 only El oisputed
|:i At least one ot the debtors and another Typ° °f NONPRIOR|T¥ unsecured °|a'm:
i:l Check if this claim is for a community m S‘udem foam
debt n Obligations arising out of a separation agreementh divorce that you did not
is the claim subject to offset? report as priority claims
. No n Debts to pension or profrt~s'naring plans. and other similar debts
m Yes - Other. gpecify Credit Cafd Pul'ChaSES
Ol‘l'rcial Form 106 E.'F Scheduie Esz Creditors Who Have Unsecured Claims Page 1 of 6

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Debtor 1 Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz

id..z j Capitat One Bank USA NA
Nonpriority Creditor‘s Name
P. O. Box 60599

City of industryl CA 91716
winner street city Staie zip Code

Who incurred the debt? Check one.
m Debtor ‘l only
i:] Debtor 2 only

 

- Debtor 1 and Debtor 2 only
n Ai least one oi the debtors and another

n Check if this claim is for a community
debt

is the claim subject to offset?

-No
lives

Case number (ir known)

Last 4 digits of account number 4945 $758.18
when was the debt incur-rear Uricertain Date

As of the date you tile, the claim is: Check all that apply

n Contingent
i:i Un|iquidated

i.__i Disputed
Type of NONPRiORlTY unsecured ciaim'.
m Student loans

i:i Obligations arising aurora separation agreement or divorce that you did not
report as priority claims

n Debts to pension or proHt-sharing plans. and other similar debts

l Diher_ gpeciiy Credit Card Purchases

 

Care Crediti'Synchrony Bank
Nonpn'oriiy Creditors Name
P. O. Box 960061
Or|ando, FL 32896-0061

 

 

Number Straet City Slate Zip Code
Who incurred the debt? Check one.

n Debtor 1 only
i:i Debtor 2 only

- Debtor 1 and Debtor 2 only

i:i At least one of the debtors and another

i:i Checli if this claim is for a community
debt
is the claim subject to ottaet'?

. No
m Yes

Last 4 digits al account number 2007 $319.31
When was the debt incurred? Uncel`tairl Dafe

As of the date you lile, the claim is: Check all that apply

|:l contingent
i:i Un|iquidated

Ei oispuied
Type of NONPR|OR|TY unsecured clalm:
ij Student loans

i:i Ob|igations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debis to pension or profit-sharing plans, and other similar debts

l when gpec,'fy Credit Card Purchases

 

 

4-4 Chevronl$jrichrony Bank

Nonpriorify Creditor's Name
P. 0. Box 530950

Atianta GA 30353-0950
Numbar Street City State Zip Code

Who incurred the debt? Check one.
i:i Debtor 1 only
n Debtor 2 only

 

l

l Debtor 1 and Debtor 2 only
Ei At least one of the debtors and another
[:i Check if this claim is for a community

 

Last 4 digits of account number 9663 $110.72

When was the debt lncurred? Ul‘lCel’tain Date

 

As of the date you file, the claim is: Check all that apply

m Cont`irigent
Ei Unliquidated

l:i Dispuied
Type of NONPR|OR|TY unsecured clalm:
n Student loans

 

 

debt ci Opligalions arising out el a separation agreement or divorce that you did not
is the claim subject to otfset? report as priority claims
- No n Doth to pension or profit-sharing plans, and other similar debts
Ei Yes l Oiher_ Spec¢fy Credit Card Purchases
Otficial Form 106 EIF Scheduie Ein Creditors Who Have Unsecured Clalms Page 2 ot 5

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Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz

Case number (irknown)

 

citgoleNce

Nonpriority Creditol“s Name
P. 0. Box 530938

Atlanta, GA 30353-0938
Number Street City Stale Zip Code

Who incurred the debt? Check one.
n Debtor1 only

m Debtor 2 only
- Debtor1 and Debtor 2 only

El At least one ortho debtors and another

i:] Check lt this claim ls for a community
debt

is the claim subject to offset?

. No
n ¥es

Last 4 digits of account number 7100 $53.20

When was the debt incurred? Uncertain Date

 

As of the date you tile, the claim is: Check ali that apply

m Contingent
Cl unliquidated

Ei Dlsputed
Type of NONPR|OR|TY unsecured claim:

m Student loans

i:i Ob|igat`tons arising out of a separation agreement or divorce that you did not
report as priority claims

m Deth to pension or profit-sharing plans, and other similar debts

l other specify Credit Card Purchases

 

 

4-6 Home Depot Credit Services
Non priority Creditot‘s Name

P. O. Box 9001010

Loulsvilte, KY 40290-1010
Number Street City State Zip Code

Who incurred the debt? Checlt one.
n Debtor 1 only

g Debtor 2 only
' Debtor 1 and Debtor2 only

m At least one of the debtors and another

|:| check ittth claim ls for a community

Last 4 digits of account number 6154 $723.16

when was the debt incurrod? Uncertain Date

 

As ofthe date you llle. the claim |s: Check all that apply

n Contingent
ij Uniiquidated

U Disputed
Type of NONPR|OR|T¥ unsecured c|atm:
ij Student loans

 

 

 

debt m Ob|lgations arising out ofa separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
. No i:i Deth to pension or pmm-sharing plans. and other similar debts
|'_`l yes l gwen Specify Credit Card Purchases
4.7 OneMail"l Last 4 digits of account number 5985 $2,947_59
Nonpriorit'y Creditor's Name

P. O. Box 740594

Cincinnatl£H 45274-0594
Number Street City State le Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

L-.i Debtor 1 and Debtor 2 only

l At least one of the debtors and another

m Chectt llthls claim ls for a community

when was the debt lncurred? Uncertain Date

 

As of the date you file, the claim is: Check all that apply

g Contingent
cl Unliquidated

m Disputed
Type of NONPR|OR|TY unsecured claim:
ij Student loans

 

 

debt n Ob|'igations arising out cia separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
. No i:i Deth to pension or profit-sharing plans. and other similar debts
n Yes - Other. Spet:ify L°an
Official Form 106 E.iF Schedule El'F: Creditors Who Have Unsecured Claims Page 3 olB

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Debtor 1 Juan Bautista Muniz Perez
DethrZ Carmen N. Muniz

 

 

 

Case number (rrknown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 S,ears Credit Cards Last 4 digits of account number 2683 $259.26
N>npriority Creditor's Name
P. O. Box 9001055 When was the debt incurred? Uncertain Date
Louisvii|el KY 40290-1055
N.rmber Street City State Zip Code As of the date you file, the claim is: Check all that apply
ho incurred the dobt? Check one.
Debtor 1 °"'|)' m Contingent
Debtor 2 On\¥ Ei unliquidated
Debtor 1 and Debtor 2 only n Disputed
At least one ofthe debtors and another Type °f NONFR'oR|w unsecured dalm:
Check if this claim is for a community n Swdem loans
d bf n Obligations arising out of a separation agreement or divorce that you did not
l the claim subject to offset? report as priority claims
ND g Debts to pension or profit-sharing plansl and other similar debts
Yes l OthEr_ Specify Credit Card Purchases
l
4-9 gtate Farm Bank Visa Last 4 digits of account number 2791 $8,145.34
Nonpriority Creditor’s Name
P. 0. Box 23025 When was the debt indurrdd? Uncertain Date
Columbus, GA 31902-3025
Numbar Street City State th Code As of the date you fi|e. the claim is: Check ali that apply
\r'liho incurred the debt? Check one.
C] centum only g Cont~,ngem
E] Debtor 2 only l:l Unliquidated
Debtor 1 and Debtor 2 only n Disputed
Ai least one of the debtors and another Type °f NONPR'OR'T¥ unsecured °'a'm:
Check if this claim is for a community m Student loans
d b\ l:] Obiigations arising out ofa separation agreement or divorce that you did not
l the claim subject to offset? report as priority claims
No m Debis to pension or pmm-sharing pians, and other similar debts
res l Oiher_ Specify Credit Card Purchases
4.1
g \. UnOCO, lnC. Last 4 digits of account number 5949 $234-72
Nonpriority Creditoi's Name
F'. O. Box 78056 When was the debt incurred? Uncertain Date
F'hoenix, AZ 85062-8056
humber Street City Staie Zip Code As of the date you fiie, the claim |s: Check all that apply
Who incurred the debt? Check one.
[:l Debtor 1 only m Contingem
[J Debtor 2 °n'Y U Uniiquidated
Debtor 1 and Debtor 2 only n Disputed
At least one of the debtors and another Type of NoNpR'oRlW unsecured claim
Checir if this claim is for a community m Student loans
debt m Obiigations arising out of a separation agreement or divorce that you did not
le the claim subject to offset? report as priority claims
- No m Debis to pension or profit-sharing pians, and other similar debts
l:l Yes l oiher_ specify Credit Card Purchases
l
l
l
Ol‘hcial Foriri 106 E.iF Schedu|e Er'F: Creditors Who Have Unsecured Clalms Page 4 oi‘ 6

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Debtor 1 Juan Bautista Muniz Perez
Debtor2 Carmen N. Muniz

 

 

 

Case number (il lino\~n)

 

 

 

 

4.1
1 Wa|mart MastercardiSYNCB Last 4 digits of account number 2441 $2,939-53
N:lnpriority Creditors Name
P_ O, Box 96¢)024 When was the debt incurred? Uncertain Date
Or|ando, FL 32896-0024
Number Street City State Zip Coda As of the date you f||e, the claim is: Check all that apply
ho incurred the debt? Check one.
Debl°" 1 °"'l¥ n Contingent
baum 2 only iii unliquidated
Debtor 1 and Debtor 2 only l:l Disputed
At least orie of the debtors and another Type of NoNpRl°RlT"' unsecured clal"":
Check if this claim is for a community m Stud`°""l loans
d vi l:l Ob|igations arising out of a separation agreement or divorce that you did not
lathe claim sublect to offset? report as priority claims
N° l:l Debts to pension or profit-sharing plans, and other similar debts
El Yes l when gpeciry Credit Card Purchases
4.1
2 Wall'nal'f Ma$tercardlSYNCB Last 4 digits of account number 6089 $4¢103»05

 

'>npriority Creditor's Name

O. Box 960024

 

112

erando, FL 32896~0024

N mber Stroet City State Zip Code
o incurred the debt? Check one.

Debtorl only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Chock lf this claim ls for a community
d bt

ls the claim subject to offset?
No

Yes

When was the debt incurred? Uncertain Date

 

As of the date you fi|e, the claim is: Check all that apply

Cl Cor\lingem
El unliquidated

L_.l Disputed
Type of NONPR|OR|TY unsecured claim:
l:l Student loans

n Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Deth to pension or proHt-sharing plansl and other similar debts

l emer. specify Credit Card Purchases

 

 

5. Use this |
is trying
have mol
notitied f

Name and J\ddress
Americap Express

P. 0. Bo r 650448
Dal|as, TX 75265-0448

Llst Others to Be Not|fled About a Debt That You Already Llsted

lage only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For exampie. ifa collection agency
o collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, ii you

e than one creditor for any ot‘ the debts that you listed in Parts 1 or 2, list the additional creditors hera. |f you do not have additional persons to be

or any debts in Parts ‘i or 2. do not fill out or submit this page.

On which entry in Part ‘i or Part 2 did you list the original creditor?
Line g or (Check one):

n Part ‘l: Creditors with Priority Unsecured Claims
- Part 2: Crediiors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

6. Totai the

 

type of unsecured claim.

Add the Amounts for Each Type of Unsecured Claim

amounts of certain types of unsecured claime. Thls information la for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

Tota| Claim
i 6a. Domestic support obligations 53- 5 0.00
Tot l
claim

from Part 6b. Taxes and certain other debts you owe the government 6b. 5 0_00
60. Claims ior death or personal injury while you were intoxicated Ec. $ 0_0{‘,\

Gd. Other. Add all other priority unsecured claims. Write that amount here. 6d- $ 0.00

6a rural Prioriiy. Acid lines ea through ed. 6a $ 0.00

Oitic.iai Form§tGS E.iF
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Scheduie Er'F: Creditors Who Have Unsecured Claims

Page 5 of 6
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_ Case 8:19-bl<-OO537-RCT DOC 1 Filed 01/22/19 Page 25 of 53
Debtor1 ! uan Bautista Muniz Perez
Debtor 2 armen N. Muniz Case number (itknown)
Tota| Claim
6f. Student loans 6\'- 5 0.00
Tot l
claim
from Part 6g. Obiigatlohs arising out of a separation agreement or divorce that o 00
5 you did not report as priority claims 69' $ ‘
‘_ Bh. Deth to pension or profit-sharing plans, and other similar debts 6h. $ 0_00
‘ _w___,_____
§ . . . . .
6i. green Add ali other nonprrorrly unsecured claims. Write that amount 61. $ 23’028'12
j Gj. Totai Nonpriorlty. Add lines Bf through 6i. 612 $ 23 028 12
iii ______“___|__._'__
t
ll
l
§
l
l
Oft'icia| Folm 106 El'F Schedu|e EIF: Creditors Who Have Unsecured Claims Page 6 of 6
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Fill in misinformation to identify your case:

Debtor 1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor2 Carmen N. Muniz
i_Spouse lt,filngt First Name Middle Name Last Name

United Sttes Bankruptcy Court for the: MlDDLE DlSTRlCT OF FLOR|DA

 

 

|:] Check lt this is an
amended filing

 

 

Ol"ficial Form 1066
Schedule G: Executory Contracts and Unexpired Leases inns

Be as corr plate and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infom'\ation. lf more space ls needed, copy the additional pa|e, fill lt out, number the entries, and attach lt to this page. On the top of any
additional pages, write your name and case number (if known).

* 1. Do yc u have any executory contracts or unexpired leases?
` - No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
l:l Y . Fill in all of the information below even if the contacts of leases are listed on Schedule A./B:Property (Oflicial Form 106 A/B).

 

2. List parately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
exam le, rent, vehicle lease, cell phone). See the instructions for this iorm in the instruction booklet for more examples ot executory contracts
and u eexplred |eases.

Perslon or company with whom you have the contract or lease State what the contract or lease is for
Name. Number, Street, City. State and ZIF' Code

2.1

 

Name

 

Nu miner Streel

 

City State ZlP Code
2.2

 

Name

 

Number Slreet

 

City State ZiP Code
2 . 3

 

Nal'i 9

 

Nurr tier Street

 

city Siaia ziP code
2.4

 

Nane

 

Nurr ber Slreet

 

 

 

 

 

 

 

 

 

Cityl State ZlP Code
2.5 `,
Nanl_e
Nurrlber Street
City State ZlP Code
thcial Fo:l'l 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case 8:19-bk-00537-RCT DOC 1 Filed 01/22/19 Page 27 of 53

Fill in this information to identify your case:

Deb10r1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor 2 Carmen N. Muniz
(Spousa ii. t::lg) First Name Middle Name Last Name

United S es Bankruptcy Court for the: MlDDLE DiSTRlCT OF FLOR|DA

Case number
litknow") |:] Check if this is an

amended tiling

 

 

 

Ot"ficlal Form 106H
Schecluie H: Your Codebtors izns

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married
people are filing together, both are equally responsible for supplying correct |rlformation. if more space is needed. copy the Addltional Page,
fl|l it outl a rid number the entries in the boxes on the left. Attach the Add|tional Page to this page. On the top of any Additlonal Pages, write
your name and case number {lf known). Answer every question.

 

1. Do you have any codebtors? (|f you are filing a joint case. do not list either spouse as a codebtor.

l:l No
l Yes

 

2. Wi hln the last 8 years, have you lived in a community property state or territory? (Communi`ty property states and territories include
Arizo 1a. Californla. ldaho, Louisiana, Neveda, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

- No. Go to line 3.
l:l Y s. Did your spouse. former spouse. or legal equivalent live with you at the time?

 

 

3. |n C lumn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse ls filing with you. List the person shown
In ll 2 again as a codebtor only if that person is a guarantor or cos|gner. Make sure you have listed the creditor on Schedule D (Official
Forrr' 106D), Schedule EIF (Offic|al Form 106E!F), or Schedule G (Officlal Form 1066). Use Schedule D, Schedule EIF, or Schedule G to fill
out Column 2.

 

 

 

 

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3 Column 1:Your codebtor Column 2: The creditor to whom you owe the debt

Name, Number. street ciry, stare ana ziP code Check all schedules that appiy;

3.1 Chrisopher D Soto Opio ill Schedule D, line
113 LGS"€ Avenue l schedule ErF line 4 1
winter Haven, FL 33880-1230 g Schedule G ’ ___'
OneMain

.
Official orrn 106H Schedule H: YourCodebtors Page 1 oft

 

Case 8:19-bi<-OO537-RCT DOC 1 Filed 01/22/19 Page 28 of 53

t Fill in this information to idaniif our asset

Debtor 1

Debtor 2
(Spouse, if ;l:ng}

 

United 3

m known)

 

Juan Bautista Muniz Perez

Carmen N. Muniz

 

tes Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLOR|DA

 

Case number Check ii this is:

i:i An amended ii|ing
i:i A supplement showing postpetition chapter

 

 

supplyln

 

'~e._..d.»...c.-. m

1. Fill

 

_i spousa. l
attach a separate sheet to this form. On the top of any additional pages. write your name and case number (if known). Answer every question.

 

13 income as of the following date:

Oiiiciai Form 106|

___ MMIDDIYYYY
Schedule l: Your income wis

Be as co¥iplete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for

correct lnformatlon. if you are married and not filing joint|y, and your spouse is living with youl include information about your
you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,

 

Describe Emp|oyment

 

 

n our em lo ent ;'
mr rm;g|°n, p ym Debtor1 Debtor 2 04 non-filing spouse
lf y u have more than one job, E l t t t n EmD|O)/€d m Emp|oyed
atta h a separate page with mP nyman 5 a 115
info mation about additional - Noi employed - NOi employed
em to ers.

y occupation Retired Retired

|nclee part-time, seasona|, or `
selfl-employed worit. Emp|oyer s name

 

Oocupation may include student Emp|°¥e"'$ address
or homemaker, if lt applies

Estimate
spouse u'

|f you cry
more spa

 

 

How long employed there?

 

Give Detai|s About Month|y income

monthly income as of the date you file this iorm. if you have nothing to report for any iine, write $0 in the space. include your non-filing
tiess you are separated

our non-filing spouse have more than one empioyer, combine the information for ali employers ior that person on the lines beiow. if you need
ce, attach a separate sheet to this form.

 

 

 

 

 

 

 

 

 

 

For Debtor 1 ;or Debtor 2 or
7 on-filing spouse
Lis monthly gross wages, salary, and commissions (before ali payroll
2- de uctions). if not paid monthly, calculate what the monthly wage would be. 2- $ °-oo 5 0'°°
3. Es lmate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Caiculate gross lncome. Add line 2 + line 3. 4- $ 0.00 $ 0.00
1 i
i
l
Of`i'lciai Form 1061 Schedule l: Your lncome

 

page l

 

 

 

 

 

Debtor 1
Debtor 2

Case 8:19-bi<-OO537-RCT DOC 1

Juan Bautista Muniz Perez
Carmen N. Muniz

 

C°FW line 4 here

5. Lisl atl payroll deductions:

5a
5h.
5c.
5d.
5e.
51.
sg.
5h.
Add
7. Ca|¢'

List
Ba.

Bb.
Bc.

Bd.
Be.
81

eg.
an

9. Add

10. Ca|c
Add

othe

Tax, Medlcare, and Social Securlty deductions
Mandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
insurance

Domestic support obligations

Union dues

Other deductions Specify:

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Case number (ifknown}

 

 

 

the payroll deductions. Add lines Sa+5b+5c+5d+5e+51+59+5h_
ulate total monthly take-home pay. Subtract line 6 from line 4.

all other lncome regularly received:
profession, or farm

monthly net income.
interest and dividends

regularly receive

settlement and property settlement

Unemp|oyment compensation

Social Securlty

Other government assistance that you regularly receive

Nutritlon Assistance Program) or housing subsidiesl
Speoify:

Net income from rental property and from operating a business,

Attach a statement for each property and business showing gross
reoeipts. ordinary and necessary business expenses. and the total

 

 

Penslon or retirement income
Other monthly income. Specify:

all other income. Add lines 8a+8b+80+8d+8e+8f+Bg+8h.

utate monthly income. Add line 7 + line 9.

lriends or relatives.

he entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. Stat
ino|u}]

Fam||y support payments that you, a non-filing spouse, or a dependent

include alimony, spousal support. child support. maintenancel divorce

Bh.

 

include cash assistance and the value iii known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplamenta|

For Debtor 1 ;or Debtor 2 or
-` on-flling spouse

4. $ 0.00 0.00
Sa. $ 0.00 $ 0.00
5h. $ 0.00 $ 0.00
Sc. 5 0.00 $ 0.00
sd. $ 0.00 $ 0.00
5a $ 0;0£ $ 0.00
5f. s 0.00 3 o.no
59» $ 0.00 $ 0.00
5h.+ $ 0.00 + $ 0.00
6. $ 0.00 $ 0.00
7. $ 0.00 $ 0.00
Ba. $ 0.00 $ 0.00
Bb. $ 0.00 $ 0.00
Bc. $ 180.00 $ 0.00
8d. 5 0.00 $ 0.00
Se. $ 1,191.00 $ 663.00
Sf. $ 0.00 $ 0.00
Sg. $ 0.00 $ 0.00

$ 0.00 + $ 0.00

 

9. $ 1;3'!1.00

 

$ 663.00

 

10. s 1,311.00 + s 663.00 =

ali other regular contributions to the expenses that you list in Scheduie J.
e contributions from an unmarried partner, members of your househo|d, your dependents, your roommates, and

Do nat include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Spec fy:

 

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result lathe combined monthly income.
Writel that amount on the Summary of Scheduies and Stati'str'cal Summary of Certai'n Liabi'iities and Related Data, if it

appli

es

13. Do yeu expect an increase or decrease within the year after you file this fonn?

l
|:l

official Fonit 1061

l No.
Yes. Explain:

11.

+$

$

2,034.00

i

0.00

t

2,034.00

Combined
monthly income

 

 

Schedule l: Your lucome

page 2

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Fill in this information lo identity your case

 

 

 

 

 

Debl°fi Juan Bautista Muniz Perez Check ll this iSi

[:| An amended filing
Debtor 2 Carmen N_ Muniz |] A supplement showing postpetition chapter
(Spnuse, fming) 13 expenses as of the following date:
United St¢ ies Bani:mpicy Court for ihe.' MlDDLE DlSTRlCT OF FLORlDA MN'| )' DD l YYYY
Case nu ber
(li known-l

 

Offic al Form 106J
Sch dule J: Your E)§penses ms

Be as c mpiete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
inform ion. if more space is needed, attach another sheet to this form. On the top of any additional pages. write your name and case
number (if known). Answer every question.

mbescr|be \'our Household
1. is his a joint case?

l:l No. Go to line 2.

l Yes. Does Debtorz live in a separate household?

l No

l] Yes. Debtor 2 must file Ofiicia| Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

2. Do you have dependents? l:i Ng

 

 

 

 

Do not list Debtor ‘l and - yes' Fill out this information for Dependent's relationship to Dependent's i_Joes dependent
, Debtor 2_ each dependent .............. Debtor1 or Debtor 2 age live with you?
‘- w W m
Dc not state the n ND
dependents names Great Grandson 8 l yes
l:l No
l:l Yes
l:l No
§ l:l ¥es
a n NO
l:l Yes
3. Do your expenses include - NO

el penses of people other than

yc urse|f and your dependents? n Yes

   
     

Estimate Your Ongoing Month|y Expenses

Estim te your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expem es as of a date after the bankruptcy is flied. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

 

 

lnciud s expenses paid for with non-cash government assistance if you know il

l the va ue of such assistance and have included it on Schedule i: Vour income
(orncl lForm 1061.) Y°“rl xP°"S°S

4. The rental or home ownership expenses for your residence. include tirst mortgage

 

 

 

 

 

 

payments and any rent for the ground or lot. 4- $ 550-00

|flnot included in line 4:

4la. Real estate taxes 4a. $ 0.00

4l3. Property, homeowners Or renter’s insurance 4b. $ O_OD

4c Home maintenancel repair, and upkeep expenses 4c. $ 0_00
§ 4d. Homeowner‘s association or condominium dues 4d. $ 0_00
§ 5. Aldditional mortgage payments for your residence, such as home equity loans 5. $ 0_00

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Ochia| lForrn 106J Schedule J: Your Expenses page 1

Case 8:19-bl<-OO537-RCT Doc 1 Filed 01/22/19 Page 31 of 53

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N_ Muniz Case number (if known)
6. Ut| |ties:
6a Electrlcity, heat, natural gas 6a 3 70.00
611 Water, sewer, garbage collection Sb. $ 30.00 §
6c. Telephone, cell phone, |nternet, saiellite, and cable services 6c. $ 140.00 l
6d. Oiher. Specify: Bd. 3 0.00
7. Food and housekeeping supplies 7. $ 400.00
§ B. Chi|dcare and children's education costs 8. $ 0.00
§ 9. C|uthing, iaundry, and dry cleaning 9. $ 50.00
l 10. Persona| care products and services 10. $ 30.00
11. M dical and dental expenses 11. $ 0.00
12. Tr nsportat|on. include gas, maintenance. bus or train fare.
` Do not include car payments 12- $ 70'°0
13. En ertainment, clubs, recreation, newspapers, magazines, and hooks 13. $ 60.00
14. C arltab|e contributions and religious donations 14. $ U.Ul]
15. in urance.
D not include insurance deducted from your pay or included in lines 4 or 20.
15 Life insurance 15a. $ 71.21
15 l-tealth insurance 15b. $ 0.00
15 . Vehicle insurance 15c. $ 83.33
», 15 . Other insurance Specrfy: 15d. $ 0.00
16. Ta es. Do not include taxes deducted from your pay or included in lines 4 or 20.
1 S cify: 16. $ 0.00
§ 17. in tallment or lease payments:
17 . Car payments for Vehicle 1 17a. $ 223.00
17 . Car payments for Vehic|e 2 17b. $ 0.00
17 Other. Specify: 17c. $ 0_00
17 Other. Specify: 17d. $ 0.00
‘: 18. ¥ ur payments of allmony. maintenance, and support that you did not report as
§ d ucted from your pay on line 5, Schedule i, your income (Offlc|a| Form 106|). 13 5 0‘00
f 19. 0 er payments you make to support others who do not live with you. $ 0.00
S ecify: 19.
20. 0 er real property expenses not included in lines 4 or 5 of this form or on Schedule i: Your income.
20 Mortgages on other property 20a. $ 0.00
20 . Rea| estate taxes 20b. $ 0.00
2 Property, homeowners or renter’s insurance 20c:. $ 0.00
2 Maintenance. repair. and upkeep expenses 20d. $ 0,00
2 Homeowner’s association or condominium dues 20e. $ 0.00
21. 0 herr SP€lel/! Vehic|e Maintenance 21- +$ 50.00
22. C lculate your monthly expenses
2 . Add lines 4 through 21. $ 11927_54
2 b. Copy line 22 (monthly expenses for Debtor 2). if anyl from Oflicial Form 106J-2 $
2 c. Add line 22a and 22b. The result is your monthly expenses. $ 1,927.54
23. C lculate your monthly net income.
2 a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 2,034.00
2 b. Copy your monthly expenses from line 22c above. 23b. -$ 1 ,927.54
2 c. Subtract your monthly expenses from your monthly income.
` The result is your monthly net income. 236. $ 106-46

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

Fc§r exampie, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
m dilication to theterms of your mcrtgage?

No.
Yes. Explain here:

 

Ofiicial l:orm 106J Schedule J: Your Expenses page 2

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Fill in this information to identify your case:

Debtor1 Juan Bautista Muniz Perez
Firsl Name Middle Name Last Name

Debtorz Carmen N. Muniz

 

 

 

(Spouse ii. folitg) Firsl Name Middle Name Last Name ii

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLOR|DA

 

Case number
(if known) [:] Check if this is an
amended H|ing

 

 

 

Ofiicial Form 106Dec
Dec|aration About an individual Debtor's Scheduies ms

 

if two married people are filing together, both are equally responsible for supplying correct Informatlon.

 

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining noney or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or hoth. 18 U.S.C. §§ 152, 1341, 1519l and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

|:fNo

JAS Operations, |nc. dlbla F|orida Paralega|
- ¥es. Name of person Assistam;e, Ron Sjob|om, President Attach Bankruptcy Pet.ition Preparer’s Notice,
Declaratlon, and Slgnature (Oft`lciai Form 119)

 

Unde penalty of perjury, l declare thatl have read the summary and schedules filed with this declaration and

10 “’/%M-'-;?
Carmen N. Muniz -/
Signature of Debtor 2

®Jale 01':7#90/? @»ate 01~¢7»»90¢1

 

 

Software Cop

Ofiicial For" 106Dec Dec|aration About an individual Debtor's Schedu|es
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Case 8:19-bi<-OO537-RCT DOC 1 Filed 01/22/19 Page 33 of 53

Fill in this information to identify your caso:

Debtor1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor 2 Carmen N. Muniz
(Spouse ii. til ng) First Name Middle Name Last Name

United Sta tes Bankruptcy Court for the: MlDDLE DiSTR|CT OF FLOR|DA

 

Case nurr ber
(ifkno~ni ij Check if this is an
amended filing

 

 

 

Officiai Form 107
Statement of Financiai Affairs for individuals Filing for Bankruptcy 4116

 

 

 

Be as co plete and accurate as posslb|e. if two married people are filing together, both are equally responsible for supplying correct

  
   
 
  
 
  
  
 

2. Durl g the last 3 years, have you lived anywhere other than where you live now?

o
l:l es. List ali of the places you lived in the last 3 years. Do not include where you live now.
Deb or 1 Prlor Address: Dates Debtor1 Debtor 2 Prlor Address: Dates Debtor 2

lived there lived there

3. With n the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communlty property
states an territories include Arizona. Califol‘nia, ldal‘oo, l.ouisiana, Nevada. New |V|exico. Puerto Rico, Texas, Washington and Wisconsin.)

o
es. Make sure you lit| out Schedule H: Your Codebtors (Oiflcia| Fon'n 106H).

Explain the Sources of Your income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ali jobs and all businesses, including part-time activitiesl
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
l No
iZi Yes. Fill in the details

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ali that appiy. (before deductions and Check ali that apply, (before deductions
exclusions) and exclusions)
Ofncial For 107 Statement of Financiai Affa|rs for individuals Filing for Bankruptcy page 1

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Did y u receive any other income during this year or the two previous calendar years?
lnclud income regardless cf whether that income is taxable Examples of other income are aiimony; child support Social Securlty. unemploymentl
and o her public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties‘, and gambling and lottery
winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Case 8:19-bi<-OO537-RCT DOC 1 Filed 01/22/19 Page 34 of 53

Debtor1 i Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number (rknowni

List ea ch source and the gross income from each source separately Do not include income that you listed in line 4.

 

 

 

 

n it o
- tes. Fill in the details.
Debtor 1 Debtor 2 5
Sources of income Gross income from Sources of income Gross income
Deecfibo bei€>w. each source Describe below. (beiore deductions
(before deductions and and exciusions)
exciusions)
F"¢-"m Ja" uary 1 of C\"'"€"\ Yea" U"t" Social Securlty $14,292.00 Social Securlty $7,956.00
the date you filed for bankruptcy:
Chi|d Support $2,160.00
F°" last calendar Y°a'= Social Securlty $14,016.00 Social Securlty $7,800.00
(January l to December 31, 2017 )
Child Support $360.00
F°r the calendar year before fhai¢ Social Security $12,708.00 Social Securlty $7,776.00
(January l to December 31, 2016 )

 

6.

List Certain Payments ¥ou Made Before You Filed for Bankruptcy

Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
i:i ho. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(3) as l“incurred by an

i:] No.
n Yes

individual primarily for a personal, fami|y. or household purpose."

Go to line 7.

During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6.425* or more?

List below each creditor to whom you paid a total of $6,425’ or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do

not include payments to an attorney for this bankruptcy case.

- Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

 

During the 90 days before you died for bankruptcy, did you pay any creditor a total of $600 or more?

" Subject to adjustment on 4101l19 and every 3 years after that for cases filed on or after the date of adjustmentl

m No. Goto line 7.

l Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Cred tor's Name and Address Dates of payment Tota| amount Amount you Was this payment for
paid still owe

Mr. ooper 10[07!2018 $1,950.00 590,000.00 - Mongage

P. Oi Box 650783 11!07[2018 m Car

Dal| s, TX 75265 12!07[2018 m Credit Card

Offlcial Form 107

Sol'tware Copyr

 

Statement of Financlal Affalrs for individuals Filing for Bankruptcy

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i:i Loan Repayment
l:i Supp|iers or vendors
i:i Other__

page 2

Best Case Bankruptcy

 

 

 

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Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number (rrknawn}
Cred tor's Name and Address Dates of payment Total amount Amount you Was this payment for
paid still owe
Stat Farm Bank 10120I2018 $668.85 $8,145.34 l:l Mortgage
P. elBox 3299 11/20!2018 l Car
Mli ukoe, Wi 53201 12120/2018 n Credit Card
n Loan Repayrneni
i:i Supp|iers or vendors
i:] Other_
7. Withi 1 year before you filed for bankruptcy. did you make a payment on a debt you owed anyone who was an lnslder?

  
  
    
 
   
 
 

include your reiatives; any general partners; relatives of any general partners', partnerships of which you are a general partner; corporations
h you are an oi"Hcer. director, person in oontrol, or owner of 20% or more of their voting securities; and any managing agent, including one for

l
i:] es. List all payments to an insider.
lnsid r's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe
Withi 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
ins|d

l
i:l es. List ali payments to an insider
lnsl r's Name and Address Dates of payment Total amount Amount you Reason for this payment

paid still owe include creditor's name

identify Lega| Actions, Repossessions, and Foreciosures

9. Withl 1 year before you filed for bankruptcyl were you a party in any lawsuit, court action, or administrative proceeding?
List al such matters. including personal in§ury cases. small claims actions. divorces, collection suits, paternity actions. support or custody
modifi tions, and contract disputes.
l o
[:] es Fill in the details
Cas title Nature of the case Court or agency Status of the case
Cas number
10. Withi 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Chec all that apply and tilt in the details below.
l o. soto line 11.
Ei es. Fill in the information below.
Cre itor Name and Address Describe the Property Date Vaiue of the
property
l Explain what happened
11. Withi 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
acco nts or refuse to make a payment because you owed a debt?
- tila
El Yes. Fill in the details
l
Cred|tor Name and Address Describe the action the creditor took Date action was Amount
l taken
12. Withi 1 year before you filed for bankruptcyl was any of your property in the possession of an assignee for the benefit of creditors, a
court ppointed receiver, a custodian, or another officia|?
l o
i:i es
Ofbciai For 101r Statement of Financia| Ai"i'airs for individuals Filing for Bankruptcy page 3

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Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number irmwnl

 

List Certa|n Gifts and Contrlbutlons

13. Withir 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l l\o

l:l Yes. Fill in the details for each gift.

Glfts with a total value of more than $600 Descrlbe the gifts Dates you gave Vaiue
per rsorl the gifts

 

Pers n to Whom You Gave the Gift and
Add ss:

14. Withl 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- o
i:l es. Fill in the details for each gift or contribution.
Glfts or contributions to charities that total Descrlbe what you contributed Dates you Vaiue

mo than $600 contributed
Char ty's Name

Add ss (Number. street ciry, stare and ZiP cnd.)

List Certa|n Losses

15. Withl 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, flre, other disaster,
or ga bling?

l n
ij es. Fill in the detaiis.
Des ribe the property you lost and Describe any lnsurance coverage for the loss Date of your Vaiue of property

how he loss occurred loss lost

include the amount that insurance has paid. List pending
insurance claims on line 33 of Schedule A/B: Property

List Certain payments or Transfers

16. Withl 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
cons lied about seeking bankruptcy or preparing a bankruptcy petition?
|i`lC|L| 8 any aflomey$. bankruptcy petition preparers. or credit counseling agencies for services required in your bankruptcy

|:l o
l es.Filllnine detailsl

Pers n Who Was Paid Description and value of any property Date payment Amount of
Add sss transferred or transfer was payment
Ema | or website address made

Per n Who Made the Payment, if Not You

Aba us Credit Counseling 12120!2018 $25.00
173 7 Ventura Blvd

Sui 226

Enc no, CA 91316

 

JA Operations, |nc. dlbia 12120[2018 $199.00
F|o da Paraiega| Assistance

Ro Sjobloml President

240 S. F|orida Avenue

Lak |and, FL 33803

 

Offlcial Form 107 Statement of Financlal Affairs for individuals Filing for Bankruptcy page 4

 

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Best Case Bankruptcy

 

 

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Debtor1 ' Juan Bautista Muniz Perez
Debtor 2 Carmen N. Muniz Case number (rrl<newn)

17. Withl 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
prorn sed to help you deal with your creditors or to make payments to your creditors?
Do n include any payment or transfer that you listed on line 16.

   
  
  
  
 
  
    
 
 
  
 
  

- o
[:l es. Fi|| in the deiai|s.
Pers n Who Was Pa|d Descript|on and value of any property Date payment Amount of
Add ss transferred or transfer was payment
made
18. Withl 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property

l

El es. Fill in the details

Pers n Who Received Transfer Descript|on and value of Describe any property or Date transfer was
Add ss property transferred payments received or debts made

paid ln exchange

19. With

- 0
|Zl es. Fill in the details
Nam of trust Descriptlon and value of the property transferred Date Transfer was

made
List of Certaln Flnanclal Accounts, |nstruments_,_Safe Deposlt Boxes, and Storage Units

20. Withl 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your beneflt, closed,

sold, oved, or transferred?

lnclu o checking, savings, money market, or other financial accounts: certificates of deposit; shares in banks, credit unions, brokerage
houss, pension funds, cooperatives, associations, and other financial institutions

l o

Ei as Fill ln the details

Nam= of Financlai institution and Last 4 digits of Type of account or Date account was Last balance

Addr ss (Number. street ciry. state and zlP account number instrument closed. so|d, before closing or

c°d°) moved, or transfer
transferred

21. Do yo now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
~ r other valuables?

- o

Ei s. Fill ln the details

Na -. of Financial institution Who else had access to lt‘? Describe the contents Do you still
Addr = ss (Number, sirm. clry, stale md zlP cad¢) Address (Number, street ciry. have it?

State and ZIF Code)

22. Have ou stored property in a storage unit or place other than your horne within 'i year before you filed for bankruptcy?

l N`p
El Yes. Fill in the details
Name of Storage Facility Who else has or had access Descrlbe the contents Do you still
Address (Numbar, street clry. stale and zlP caa¢} to lt? have it?
Address ¢Number, srm¢. ciry.
Slste and ZiP Code)
Ofl’lcial Form 07 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

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Debtor1 Juan Bautista Muniz Perez
Debtor 2 Carmen N_ Muniz Case number iirirnowni

 

 

 

m dentify Property You Hold or Contro| for Someone E|se

 

 

23. Do yo:`hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust §
for so eone. i‘

 

 

l N

Ei Y s. Fill in the detailsl

Own r's Name Where is the property? Describe the property Vaiue
Addr ss [uumbar, srmr. criy. stare and are cedar inurribar, simi, cliy. seals and zip

cedei

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Part 10: ive Deta|is About Env|ronmenta| information

  
    
   
  
 
   
  
 
 

For the pu pose of Part 10. the following definitions appiy:

i

- Envi nmental law means any federa|, state. or local statute or regulation concerning pollution, contamination, releases of hazardous or §
toxic ubstances, wastes, or material into the air, |and. soil, surface water, groundwater. or other medium, including statutes or

regul tions controlling the cleanup of these substances, wastes, or materia|. §

Site eans any iocation, facilityl or property as defined under any environmental iaw, whether you now own, operate, or utilize it or used :

to o\iv , operate, or utilize lt, including disposal sites. i

Haza ous material means anything an environmental law defines as a hazardous waste, hazardous substancel toxic substance, §

hazar ous materiai, poliutant, contaminant, or similar term. §

i

Rapart all otices. rB|GHSP-S. and proceedings that you know about, regardless of when they occurred. §

t

i

24. Has a y governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l o
l:i es. Fill in the deta||s. §
Nam of site Governmenta| unit Environmenta| lawl if you Date of notice

Add ss inurrrber, sire¢i. city, stan and zlP cedar Address ¢Number. street ciiy, stare ana know it

ZJF Code)
25. Have ou notified any governmental unit of any release of hazardous material?

0
es. Fill in the detaiis.
Nam of site Governmental unit Environmentai law, if you Date of notice

Add ss inumbar. simi, cliy. stale ana zii= canal Address inumbar, sireei, ciiy, stats and know it
ziP com

26. Have ou been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

0
Ei as Fill in the details
Cas Titie Court or agency Nature of the case Status of the
Cas Number Name case
Address ¢Numbar, simi, ciry,
Stete and ZiP Code)

_|lee Detalls About Your Business or Connect|ons to Any Business

27. Withiii 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
i:i A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
iri A member of a limited liability company (LLC) or limited liability partnership (LLP)
l A partner in a partnership
An officer, director, or managing executive of a corporation

An owner of at least 5% of the voting or equity securities of a corporation
l

i

Officiai For 107 Statement of Flnanclai Affairs for individuals Filing for Bankruptcy page 6

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Debtor 1
Debtor 2

|:l

Bu

Ad
(Nu

Case 8:19-bi<-00537-RCT DOC 1 Filed 01/22/19 Page 39 of 53

Juan Bautista Muniz Perez
Carmen N. Muniz Case number irknowrri

 

No. None of the above applies. Go to Part 12.

Yes. Check all that apply above and fill in the details below for each business.

iness Name Descr|be the nature of the business Emp|oyer identification number
ross Do not include Social Securlty number or |TlN.
b"- Simi~ C"¥¢ 5““ led ap C°d°l Name of accountant or bookkeeper

Dates business existed

ZB. Withtn 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial

lnst|

ut|ons, creditors, or other parties.

 

 

No

es. F||| |n the details below.

Date issued

 

 

Gcarmen N. Muniz 5

Signature of Debtor 2

 

 

@331¢_'$'_'7' 319/q ®ate Q[»-[Z#'Q@ij
Did you attach additional pages to Your Statement of Financiai Affairs for individuals Filing for Bankruptcy (Ofiicial Form 107)?
. No
l:l Yes
Did you p ay or agree to pay someone who is not an attorneth help you fill out bankruptcy forms?
L_.l No
l Yes. N me of Person JAS Operations, inc. dlbla Fiorida Paraiega| Assistance, Ron Sjob|om, President .Attach the Bankruptcy
Petr'tr'on Pr parer's Notr'ce, Deciaratr'on, and Sr'gnature (Oflicia| Form 119).
Oit'tciai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7
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l

 

Fill in this information to identify your case:

Debtor1 Juan Bautista Muniz Perez
First Name Middle Name Lasi Name

Debtor 2 Carmen N. Muniz
iSpouse 'ri. filir gi First Name Middle Name Last Name

United Sta es Bankruptcy Court for the: MlDDLE DiSTR|CT OF FLOR|DA

 

 

Case num )er
tirknown) {] Check ii this is an
amended liling

 

 

 

Officia Form 108
Statement of intention for individuals Filing Under Chapter 7 mrs

 

if you are n individual filing under chapter 7, you must fill out this form if:
. credito have claims secured by your property, or

l you hav leased personal property and the lease has not expired.

You must le this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, ¢
hichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
o the form

 
 
 

if two marr ed people are filing together in a joint case. both are equally responsible for supplying correct information. Both debtors must
s gn and date the form.

Be as corn lete and accurate as possibie. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
rite your name and case number (lf known).

1. For any redltors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Officlal Form 106D). fill in the
informat on below.

ist Your Creditors Who Have Secured Claims

identify he creditor and the property that is collateral What do you intend to do with the property that iiid you claim the property
secures a debt? ab exempt on Schedule C?
Credit°r'$ Mi'. COOP€F i:i Surrender the property i:i No
namei i:i Retain the property and redeem it.
' Retain the property and enter into a - Yes

DeSCrin en Of 113 Les|ie Avenue Winter
pmpeny Haven, FL 33880 Foik County
securing debt (Debtor intends to retain
collateral and continue to pay
the regular monthly payments.)

Reafli`rmatr'on Agreemeni`.
L_.l Retain the property and iexplaini:

 

 

Credit°r'§ Sfafe Fafl'l"i Bank L_.i Surrender the property. i:l No
hamm i:i Reiain the property and redeem ii.
- Retain the property and enter into a - Yes

Descript'°r\ of 2010 Chevroiet Ma|ibu

pmpeny (Debtor intends to retain
Secuan debt collateral and continue to pay
the regular monthly payments.)

Reafl‘irmafr'on Agreement.
i:l Retain the property and [exp|ain]:

 

 

' List Your Unexplred Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexplred Leases (Officiai Form 1066}, fill
in the lnfor ation below. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may a sums an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 3%5(p)12).

Officiai Forrr 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor1 Juan Bautista Muniz Perez

Debtor2 Carmen N. Muniz Case number irrrmown)
Descrlbe your unexpired personal property leases Wll| tire lease be assumed?
Lessor's name: [:] No
Descriptim of leased

Property: cl Yes
Lessor's name: {:| No
Descn'ptim of leased

Pr°i’e"¥= l:i Yes
Lessor’s name: 13 No
Descn'ptio"l of leased

Property i:i Yes
Lessor'S name: [:] No
Descriplio'l of leased

Property: n Yes
Lessofs name: [| N°
Descn'ptio'r of leased

Property: |:] Yes
Lessor's name: [:] No
Descriptio'i of leased

Property: cl Yes
Lessor's name: g No
Description of leased

Property: m yes

 

mn Below

Under pen lty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal
pro ertyt at is subject to an unexp ed iease.

 
 
 

  
 

 

@@¢/vm~ /1////_;%//%-¢

autista Muniz Fere& Carmen N. Muniz "
of Debtor 1 Signature of Debtor 2

@>ate Oi~'i'?~'“' a'O/Q @Date ()_L/I?P' S'Di@

 

 

Ofliciai Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

Sottwaro Copyi;'ighi [c) 1996-2018 Besl Case. LLC - www.bestcasa.i:orn Eest Case Bankruptcy

 

 

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Fill iri this information to identify your Ca:'iej

Cheo|<. one box only as directed i'i this form and in Form

lZZA¢i Su"_‘i".
Debtor1 Juan Bautista Muniz Perez w

 

 

(Spouso, ifli lng)

|:l 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Mearis Test
Calcui'aii`on (Ofiicial Form 122A-2).

D€bloi' Z\L Carmen N- Muniz l 1. There is no presumption of abuse

United S

ies Bankruptcy Court for the: Middle Distriot ot Fiorida

 

Case number
ill “"°‘*"‘) l:l 3. The Nleans Test does not apply now because of
qualified military service but it could apply later.

[:l Check if this is an amended filing

 

 

 

 

Officiel Form 122A - 1
Chapl:er 7 Statement of Your Current Monthiy income izris

Be as complete and accurate as possibie. if two married people are filing togelher. both are equally responsible for being accurate. if more space is needed,
attach a se :arato shoot to this form. include the line number to which the additional information applies. on the top of any additional pages, write your name and
case numb r{ll' known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying ilitery service, complete and file Statement oi'Exerripli‘on from Presumption ofAbuse Under § TO?(b)(Z) {Official Form 122A-1Supp) with this forrn.

 

 

  
   
 

 

Caiculate Your Current liilonthiy income

 

   
  
  
 
 
 

1. Wha is your marital and filing status? Check one only.

El N t married. Fill out Column A, lines 2-11.
fried and your spouse is filing with you. F iii out both Coiumns A and B, lines 2-11.
U M rried and your spouse is NOT filing with you. You and your spouse are:
n Living in the same household and are riot legally separated. Fill out both Columns A and B. lines 2-11.

E] Living separately or are legally separated. Fill out Column A, lines 2-11; do not li|| out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements 11 U.S.C § 707(b)(7)(B).

Fill in th average monthly income that you received from all sources. derived during the 6 full months before you file this ha " ruptcy case. 11 U.S.C. §

101(1DA . For example. ifyou are tiling on Seplember15. tire 6-month period would be March 1 through August 31. if the amount of monthly income varied during
the 6 mo ths, add the income for all 6 months and divide the lolal by 6. Fill in the rosult. Do not include any income amount more than ce. For examplel if both

 

spouses the same rental property. put the income from that property in one column only. if you have nothing to report for any iine;lrite $D in the space
ii l
' column A commit s '
Debtor 1 Debtoii 2 or

non-filing spouse
2. Your gross wages, saiary, tips, bonuses. overtime, and commissions (before ali

payr ll deductions). 0.00 $ 0.00
3. Aiim ny and maintenance payments. Do nol include payments from a spouse if
Coiu n B is filled in. $ 170.00 3 0.00

4. A|l a ounts from any source which are regularly paid for household expenses
of yo or your dependents, including child support. include regular contributions
from n unmarried partner, members of your household . your dependents parents,

filled n. Do riot include payments you listed on line 3. 5 0'00 $ °'°o
5. Neti come from operating a business, profession, or farm

 

 

 

 

Debtor 1
Gros receipts (before ali deductions) 3 0-00
Ordin ry and necessary operating expenses '$ 0-00
Net onth|y income from a business. profession, or farm $ 0-00 COPY here -> $ 0.00 $ 0.00
6. Neti come from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0-00 l
Ordin ry and necessary operating expenses -$ 0.00 '
Net m nth|y income from rental or other real property $ FM COP¥ here “> $ 0-00 $ O.DU l
7. lntere t, dividends, and royalties $ 0.00 5 0.00 |
l
i
Ofiiciai Forri 122A-1 Chapter 7 Statement of Your Current Monthiy income page 1
Softwaro Copyn' hi (c) 1996-2018 Besl Case, LLC - www.bestcsse,com Best Case Bankruptcy

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Debtor1 . uan Bautista Muniz Perez

 

 

 

oebtorz Carmen N, Muniz case numb¢r(rri<nowni
Column A Columrt B
Debtor1 DebtcniZ or
non-fi|ih| spouse
8. Unerr pioyment compensation $ 0.00 $ 0.00

 

Do nut enter the amount if you contend that the amount received was a benefit under
the Social Securlty Act. instead, list it here:

F°' V°U$ 0-00
For your SPOuSe .$ 0-00
9. Pens on or retirement lncome. Do not include any amount received that was a 0 00
beneft under the Social Securlty Act. 3 0'00 $ '
10. income from all other sources not listed above. Specify the source and amount.
Do nct include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international cr

domestic terrorism. if necessary. list other sources on a separate page and put the
total telow.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Social Securlty $ 1,191.00 3 663.00
$ 0.00 5 0.00
Total amounts from separate pages. if any. + $ O.D€i $ 0.00
11. Calc late your total current monthly income. Add lines 2 through 10 for
each o|umn. Then add the total for Column A to the total for Column B. $ 1'361'00 + 5 663-00 $ 2»°24-0°
Total current monthly
income
Determ|ne Whether the Means Test Appi|es to ¥ou
12. Caic late your current monthly income for the year. Fo||ow these steps:
12a. opy yourtota| current monthly income from line 11 ____________________________________________________ 7 VVVVVVVVVVVVVVVV Copy line 11 here=> $ 2 024_00
ultiply by 12 (the number of months in a year) x 12
12b. he result is your annual income forthis part of the form 1211 3 24,288.00

 

 

 

13. Calc late the median family income that applies to you. Foliow these steps:

Fiii in the state in which you |ive.
Fill in the number cl people in your household ij

Fill in the median family income for your state and size of househo|d. 13_ 5 65,278.00
To n d a list of applicable median income amounts. go on|ine using the link specified in the separate instructions

for th s fonn. This list may also be available at the bankruptcy clerk's office.

 

14. How o the lines compare?
14a. - Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is rio presumption ofabuse.
Go to Part 3.

14b. i:l Line 12b is more than line 13. On the top of page 1, check box 2. The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and till out Form 122A-2.

Slgn Below
y signing here l de are nder p na|ty of perjury that the information on this statement and in any attachments is true and correct.
' M §§ ` iQJ/W /@&;¢~/'¢M 10 '

, %/<¢__»¢j

u Bautista Muniz Perdz J “ C/ Carmen N. Muniz
' ture oi Debtor 1 Signature cl Debtor 2

@Datq 0).»{7'-3'0{9 i®:late Oi'~[?“"a»@|q
MMIDDIYYYY |V|M/DD IYYYY
ii you checked line 14a, do NOT till out or file Form 122A-2.

  

 

 

lf you checked line 14b. till out Form 122A-2 and tile it with this forrn.

 

l
OHicia| For`tn 122A-1 Chapter 7 Statement of Your Current Monthiy income page 2
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United States Bankruptcy Court
Middle District of Fiorida

J dan Bautista Muniz Perez
m re Carmen N. Muniz Case No.
Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge

@m. 0 //7»-3019

 

Qate:@L”/?»-£qu &LAWLM /V, /%u/"-;?
Car n N. Muniz
Signn;:ure of Debtor

 

 

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Juan Baut sta Muniz Perez
113 Les|ie Avenue
Winter Hav en, FL 33880

Carmen N. Muniz
113 Les|ie Avenue
Winter Ha\ en, FL 33880

American Express
P. O. Box 297879
Fort Lauderdale, FL 33329-7879

Arnerican Express
P. O. Bo)t 650448
Dal|as, T)¢ 75265-0448

Capita\ One Bank USA NA
P. O. Bo.< 60599
City of |nc ustry, CA 91?16

Care CreditlSynchrony Bank
P. O. Box 960061
Or|ando, FL 32896-0061

ChevronlSynchrony Bank
P. O_ Box 530950
At\anta, GA 30353-0950

Chrisopher D Soto Opio
113 Les|e Avenue
Winter H aven, FL 33880-1230

Citgo/SYNCB
P. O. Bc)x 530938
At|anta, GA 30353-0938

 

Equifax
P. O. Box 740241
Atlanta, GA 3037'4

Expedan
P. O. Box 9701
A||en, TX 75013

Home Depot Credit Services
P. O. Box 9001010
Louisvi!|e, KY 40290-1010

Mr. Cooper
P. O. Box 650783
Dalias, TX 75265

OneMain
P. O. Box 740594
Cincinnati. OH 45274-0594

Sears Credit Cards
P. O. Box 9001055
Louisville, KY 40290-1055

State Farm Bank
P. O. Box 3299
Mi|waukee, W| 53201

State Farm Bank Visa
P. O. Box 23025
Columbus, GA 31902-3025

Sunoco, |nc.
P. O. Box 78056
Phoenix, AZ 85062-8056

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Trans Union
P. O. Box 2000
Chester, PA 19022-2000

Wa|mart Mastercard/SYNCB
P. O. Box 960024
Or|ando, FL 32896-0024

 

 

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g
t
1
§
§

ii
ii

ii

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Notice Required by 11 U.S.C. § 342(b) for

individluais Filing for Bankruptcy (Forrn 2010)

 

This not ce is for you if:

You are an individual filing for bankruptcy,
and

Yoi. r debts are primarily consumer debts.
Cor sumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, fami|y, or

household purpose."

 

 

The typ s of bankruptcy that are available to
individ als

|ndividu ls who meet the qualifications may file under
one off ur different chapters of Bankruptcy Code:

Ch pter 7 - Liquidation
Ch pter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decisi n to file for bankruptcy and the choice of
chaptei'.

 

Notice Re u|red by 11 U.S.C. § 342(b) for individuals Flling for Bankruptcy (Form 2010|

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i

Chapter 7: Liquidation
$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy.from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge For examp|e, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile

l-iowever, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most Student ioans;

domestic support and property settlement
obligations;

page 1

Best Case Bankruptcy

 

 

 

Case 8:19-bk-OO537-RCT Doc 1

most tines, penalties, forfeitures1 and criminal
rest tution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and
death or personal injury caused by operating a

motor vehicie, vessei, or aircraft while intoxicated
from alcohol or drugs.

 

if your d ath are primarily consumer debts, the court
can dis iss your chapter 7 case if it finds that you have
enough ncome to repay creditors a certain amount.
You mu tfile Chapter 7 Statement of Your Current
Monthiy income (Official Form 122A-1) if you are an
individu l filing for bankruptcy under chapter 7. This
form wi| determine your current monthly income and
compar whether your income is more than the median
income hat applies in your state.

 
 

lf your i come is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Cha ter 7 Means Test Calculati'on (Official Form
122A-2 .

lt youri come is above the median for your state, you
must til a second form -the Chapter 7 Means Test
Caicula ion (Official Form 122A-2). The calculations on
the for - sometimes called the Mearis Tesi-deduct
from yo r income living expenses and payments on
certain ebts to determine any amount available to pay
unsecu ed creditors lf

Notica Reiiulred by 11 U.S.C. § 342(b) for lndividuals Filing for Bankruptcy (Form 2010)

 

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your income is more than the median income for your

state of residence and family size, depending on the

results of the Means Tesi, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. lf a §
motion is filed, the court will decide if your case should '
be dismissed To avoid dismissal, you may choose to

proceed under another chapter of the Bankruptcy

Code.

if you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
propertyl and the proceeds from property that your
bankruptcy trustee sells or |iquidates that you are
entitled to, is called exempt proji:iertyl Exernptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is so|d.

Exemptions are not automatic `l'o exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (thcial Form 1060). |f you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 h|ing fee

+ $550 administrative fee
$1,717 totalfee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefly.

page 2

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Read These lmortant Warnins

=l ecause bankruptcy can have serious long-term financial and legal consequences, including loss of
our property, you should hire an attorney and carefully consider all of your options before you file.
0 nly an attorney can give you legal advice about what can happen as a result of filing for bankruptcy

nd what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms i

-i roperly and protect you, your family, your homel and your possessions

- lthough the law allows you to represent yourself in bankruptcy court, you should understand that
any people find it difficult to represent themselves successfully. The rules are technical, and a mistake
-- r inaction may harm you. if you file without an attorney, you are still responsible for knowing and

allowing all of the legal requirements

necessary documents

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

|Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement. concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
.20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Simi|ar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not Jaid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

 

Notlca Rejulred by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13l you must file with the court a plan j
to repay your creditors all or part of the money that :
you owe them. usually using your future earnings if

the court approves your plan, the court will allow you

to repay your debts, as adjusted by the plan, within 3

years or 5 years, depending on your income and other

factors.

After you make all the payments under your plan,
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligationsll

most student loansl

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

page 3
Best Casl Bankruptcy

 

Case 8:19-bk-OO537-RCT Doc 1

 

Section
you pro

general

their de

 

creditors assets liabilities incomel expenses and
bankrupt y case if you do not tile this information within
the dead nes set by the Bankruptcy Code, the
Bankrupt
For more information about the documents and

http:liwwiv.uscoum.M/bkformsibankruptcy form

shtm|#piocedure.

 
 
 
 

aming: File Your Forms on Time

1 (a)(‘l ) of the Bankruptcy Code requires that
tly tile detailed information about your

f anciai condition. The court may dismiss your

y Rules, and the local rules of the court.

a:llines, go to:

 

 

Bankru tcy crimes have serious consequences

if y u knowingly and fraudulently conceal assets

or
of
co

make a false oath or statement under penalty
perjury-either orally or in writing-in
nnection with a bankruptcy case, you may be

tined, imprisoned, or both.

Aii
ha

nformation you supply in connection with a
nkruptcy case is subject to examination by the

Attorney General acting through the Oftice of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Pefi'ti'on for individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Ru|e 4002 requires that you notify the court
of any changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together-ca|led a joint case. if you tile a joint case and
each spouse lists the same mailing address on the
bankruptcy petitionl the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). |f you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
lnternet.

ln addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:iijustice.goviustieoihapcpa/ccdeicc approved.html

in Alabama and North Carolina, go to:
http:i/www.uscourts.goviFedera|CourtsiBankruptcyi
BankruptoyResources/ApprovedCredit

AndDethounselorsaspx.

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

page 4

Best Case Bankruptcy

.i._. _.“ ..,m~,.vi_¢¢-r

 

United States Bankruptcy Court
Middle District of Fl ida
In re Juan Bautista Muniz Perez Case No.
Carmen N. Muniz
Debtor(s) Chapter 7
Addrdss: Social Security No(s).: xXX-XX-2565
113 l.eslie Avenue Jcint Debtor: xxx-xx-ZSO?
Winter Haven, FL 33880
DISCLOSURE OF COMPENSATION OF BANKRUPTCY PE'I`ITION PREPABER
i. Under 11 U.S.C. § llO(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to
bi: paid to me, for services rendered on behalf of the debtor(s) in contemplation ofor in connection with the bankruptcy case
is as follows:
]"or document preparation services, I have agreed to accept ........................... $ 199.00
Prior to the filing of this statement I have received .................................. 5 199.00
Balance Due ............................................................... 5 0.00
2. l nave prepared or caused to be prepared the following documents (itemize): Voluntary Petition Form, Summary of Schedules,
Statement of Financial At`fairs, Chapter 7 Individual Debtor's Statement of Intention, Disclosure of Compensation of
Bankruptcy Petition Preparer.
aid provided the following services (itemize): Financial Evaluation fee of $99.00, Bankruptcy typing fee of` $35.00,
A dditional costs for Worksheets $ l 0.00, lnterview time $35.00, Packaging and preparation of documents $10.00, CD-Rom,
eivelopes, and clips $5.00, and Storing data on computer $5.00.
3. The source of the compensation paid to me was: XX Debtor Other (specify)
4. The source of the compensation to be paid to me is: XX Debtor Other (specify)
5. 'Ihe foregoing is a complete statement of any agreement for payment to me for preparation of the petition filed by the
debtor(s) in this bankruptcy case.
6. 'io my knowledge no other person has prepared f`or compensation a document for filing in connection with this bankruptcy
case except as listed below:
NAME SOCIAL SECURH`Y NUMBER
DECLARATlON OF BANKRUPTCY PETITION PREPARER
l declare qqelw\undt§;s:altyMD/m of perjury that the foregoing is true and correct to the best of my knowledge, inforrnation, and belief
X ____ l Date 01 1121 hézfi
signatii:\ "
267-2 3-2565
Social Security Nurnber
JAS 0 erations lnc. dib/a Fiorida Parale al Assistance Ron S'oblom President
Name Print)
2401 South Fiorida Avenue
Lake and, Fiorida 33803
Addre s
A bankruptcj petition preparer's failure to comply with the provisions of title l i and the Federal Rules of Bankruptcy Procedure may result in fines of imprisonment or both.
il U.S.C. § 110; isU.s.C. § 156.

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Fill in this information to identify the case:

Debtor1 Juan Bautista Muniz Perez
First Name Middle Name Last Name

Debtor 2 Carmen N. Muniz
(Spouse, itii|ing First Name Middie Name Last Name

United State s Bankruptcy Court lor the: MlDDLE D|STR|CT OF FLOR|DA

 

 

Case numb ar Chapter 7
m moving

 

 

Officiai Form 119

Bankruptcy Petition Preparer's Notice, Declaration, and Signature 12115

 

  

Bankruptcy petition preparers as defined ln 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. if mer than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A bankruptcy petition preparer who
ply with the provisions of title 11 of the United States Code and the Federal Ru|es of Bankruptcy Procedure may he fined,
imprisoned or both 11 U.S.C. § 110; 18 U.S.C. § 156.

Notice to Debtor

 

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or acjept any compensation A signed copy of this form must be filed with any document prepared.

B nkruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the io||owing:

- whether to me a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

» whether filing a case under chapter 7, 11, 12. or 13 is appropriate;

l whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

o whether you will be able to retain your horne, car, or other property after commencing a case under the Bankruptcy Code:
~ what tax consequences may arise because a case is filed under the Bankruptcy Code;

. whether any tax claims may be discharged;

0 whether you may or Shou|d promise to repay debts to a creditor or enter into a reaffirmation agreement

~ how to characterize the nature of your interests in property or your debts; or

~ what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer JAS 0 erations |nc. dlbia Fiorida Parale al Assistance Ron S'ob|o F'resident has
n -tified me of any maximum allowa le e before preparing any document for f|||ng or accepting any fee.

@ate 0¥"/7" 30[?

 

 

 

 

 

 

M|WDD /YYYY
t _ @Jaie_Q{~/Yfaoiq
‘7 Signature cf Debtor 2 acknowledging receipt of this notice MM/DD NYYV '
Oft`icial Form 119 Bankruptcy Petition Preparer‘s Notice, Declaratlon, and Signature page 1

 

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Debtor 1
Debtor 2

 

Case 8:19-bl<-OO537-RCT Doc 1 Filed 01/22/19 Page 52 0153

iJuan Bautista Muniz Perez
Carmen N. Muniz Case number iirl<nown)

 

Dec|aration and Signature of the Bankruptcy Petitlon Preparer

Under pena ty of perjury, l declare that:

| arn a bankruptcy petition preparer or the ofticer, principa|, responsible person, or partner ol a bankruptcy petition preparer;

l or my firm prepared the documents listed below and gave the debtor a copy of them and the Noti'ce to Debtor by Bankruptcy Peti'ti'on
Preparer as required by 11 U.S.C. §§ 110(b). 110(h), and 342(b); and

if rules or guidelines are established according to 11 U.S.C. § 110(|1) setting a maximum fee for services that bankruptcy petition
preparers may charge, | or my firm notified the debtor ol the maximum amount before preparing any document for liiing or before
accepting any fee from the debtor.

JAS Operatlons, |nc. dibia Fiorida

 

 

Para|ega| Assistance, Ron S]oblom,

President

Prinied name Tit|e, if any Firm namel if ii applies

2401 Souih Fiorida Avenue

Lake|and, Fiorida 33803 863-686-5888

Number. Street, City. State & ZtF' Code Contact phone

l or my firm prepared the documents checked below and the completed declaration is made a part of each document that l check:

{Check all that appiy.)

121 Voluntary Petition (Form 101) iii Schedule | (Form 106|) i::i Chapter 11 Statement of‘l'our Current Monthiy

_ _ income (Form 1228}

lfl siaieme-iiAeduiYnursocial Securlty Numbers lE schedule J (l=erm 106J) m

(Fomi 121) m _ 1 . Chapter 13 Statement of Your Current Monthiy
Dec|aration About an individual Debtor's Schedules l - - -
121 YeurAsseis and Liabiliiies and certain statistical (Fnrrn inspect 'n°°me and Ca °u'°"°" °fc°mm"me"t Per'°d

informer

Ifl schedule NB iForrn iceAiB)

Dn (Form 1068um) (Form 122C-1)

M Statement °' Fi"a"'=ia' A"a"$ (F°'"‘ 1071 I:| chapter 13 calculation di your Disposable income
iii statement of intention fur individuals Filing under iF°"“ 1226'2)

iii Schedu| a C (Form 1060) Chapter 7 (FO'T“ 193) [:\ Appiication to Pay Filing Fee in installments (Forr'n
121 Schedule D (Form 1060) m Chapter 7 Statement of Your Current Monthiy 103Ai
lz| Schedule E,ii: ¢Form 1055":) m lnc°me (F°rm 122A'1} iii i(°|i:pplica|lg);Bi)o Have Chapter 7 Filing Fee Waived
Statement of Exempi‘aon from Presumption of °"""
iii Schedule G (Fom't 1066) Abuse under § 707(b)(2) (Form 122A-1Supp) m A listpf names.§nd adm-assess of an creditors
M Schedula H (F°'m 106H) |:i Chapter 7 Means Test Ca|cu|ation (Fomi 122A-2) (cre°"'i°' °" ma'"”g mam“')
m Other

 

Bankruptcy petition preparers must sign and give their Social Security numbers. lt more than one bankruptcy petition preparer prepared the documents

to which this

    
 

Signature of

bankruptcy petition pre

declaration ap s. the signature and Social Securlty number of each preparer must be provided 11 U.S.C. § 110.

XXX-XX-XXXX care 0 l !¢9;1_ 12 Q ig
er or omcer, principa|. Social Security number of person who signed M|W IYY¥Y

    

 

responsible :ierson. or partner

JAS Ope 'ations, |nc. dlbl'a Fiorida Para|ega|
Assistan ::e Ron Sjoblom. President

Pfinle nam 3

Date

Signature of bankruptcy petition preparer or ofticer, principal, Social Securlty number of person who signed MMIDDIYYY¥
responsible carson. or partner

 

Printed name

Ofi‘iciai Form 1

19 Bankruptcy Petitiort Preparer’s Notice, Deciaration, and Signature page 2

 

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STATEMENT OF INFORMATI()N REQUIRED BY 11 U.S.C. §341

lNTRODL CTION

Pursuant to th: Bankruptcy Rct`orm Act of 1994, the Off'ice of the United States Trustee, United States Dcpartment of Justice, has prepared this information sheet to help
you understand some of the possible consequences of filing a bankruptcy petition under chapter 'i' of the Bankruptcy Code. This information is intended to make you
aware of..,

(|) thc potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
(2) the effect of receiving a discharge of debts

(3) the effect of reaffirming a dcbt; and

(4) yo tr ability to file a petition under a different chapter ofthe Bankruptcy Code.

Thcrc arc many other provisions ot` thc Bankruptcy Code that may affect your situation This information sheet contains only general principles of law and is not a
substitute for cgal advicc. if you have questions or nccd further information as to how the bankruptcy laws apply to your specific case, you should consult with your
lawycr.

WHAT IS ‘A DISCHARGE?

The filing of chapter 'l petition is designed to result iri a discharge of most of the debts you listed on your bankruptcy schedules A discharge is a court order that says
you do not ha e to repay your dcbt.s, but there arc a number of exceptions Debts which may not bc discharged in your chapter 7 case includc, for example most taxcs,
child support, alimony, and Student loans; court-ordered fines and rcstitution; debts obtained through fraud or deception; and personal injury debts caused by driving
while intoxic ed or taking drugs. Your discharge may be denied entirely if you, for examplc, destroy or conceal property; destroy, conceal or falsify rccords; or make a
false oath. Cr ditors cannot ask you to pay any debts which have been discharged You can only receive a chapter 7 discharge once every eight (B) years.

 

 
 
 

WHAT A THE POTENTIAL EFFECTS OF A DISCHARGE?
The fact that ou filed bankruptcy can appear on your credit report for as long as 10 years. Thus, t'ilinga bankruptcy petition may affect your ability to obtain credit in
thc future. Al o, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for bankruptcy

WHAT A E THE EFFECTS OF REAFFIRMING A DEBT‘.’

Attcr you tile our petition, a creditor may ask you to reaffirm a certain debtor you may seek to do so on your own. Rcaff`irming a debt means that you sign and file
with the court a legally enforceable documcnt, which states that you promise to repay all or a portion of the debt that may otherwise have been discharged in your
bankruptcy c e. Rcaffirrnation agreemean must generally be filed with the court within 60 days after the first meeting of thc creditors.

Rcaffirmation agreements are strictly voluntary w they arc not required by the Bankruptcy Code or other state or federal law. You carl voluntarily repay any debt
instead of sig ing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

Rcaffirrnationiagrecmcnts must not impose an undue burden on you or your dependents and must be in your best interest if you decide to sign a reaffirmation
agreement, yoii may cancel it at any time before the court issues your discharge order g within sixty (60) days after the reaffirmation agreement was filed with the
court, whiche er is later. if you reaffirm a debt and fail to make the payments required in the reaffirmation agreement, the creditor can take action against you to
recover any piopcrty that was given as security for thc loan and you may remain personally liable for any remaining debt.

()THER B NKRUPTCY OPTIONS

You have a c ice in deciding what chapter of the Bankruptcy Code will best suit your needs Even if you have already filed for relief under chapter 'i', you may bc
eligible to co crt your case to a different chaptcr.

Chapter 'i' is t c liquidation chapter of the Bankruptcy Code. Under chapter 'i', a trustee is appointed to collect and sell, if economically feasible, all property you own
that is not cxc pt from these actions.

Chapter ll is he reorganization chapter most commonly used by businesscs, but it is also available to individuals Creditors vote on whether to accept or reject a plan.
which also m st be approved by the court. While the debtor nunnally remains in control of the assets, the court can order the appointment of a trustee to take possession
and control 0 the business

 
  
   
 
   
    
   

Chapter 12 o crs bankruptcy relief to those who qualify as family farmers Farnily farmers must propose a plan to repay their creditors over a lhree-to-f'ive year period
and it must be approved by the court. Plan payments arc made through a chapter 12 rrustee, who also monitors the debtor`s farming operations during the pendency of
thc plan.

Finally, chapt r 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be appro ed by the bankruptcy court. The debtor must pay thc chapter 13 trustee the amounts sct forth in their plan. Debtors receive a discharge after they
complete thci chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,347,500 ($336,900 in
unsecured de and $1,010,650 in secured debts).

AGAIN, P EASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANAT|ON,
`INCLUDI Gl~l.OW E BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.
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